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Southey, 8.0) iA - Bivens Complaint form Southern District of West Virginia

 

 

 

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

v _ |
Carn Shan Wola08

 

 

 

 

 

 

(Enter above the full name of the plaintiff (Inmate Reg. # of each Plaintiff)
or plaintiffs in this action) [: (6 o- Ch WV O O oO We b
v. CIVIL ACTIONNO. +4 HAL,

 
 

(Number to be assigned by Court)

Navid Wilso exal

 

 

 

(Enter above the full name of the defendant
or defendants in this action)

Defendant(s).

COMPLAINT

I. Parties

A. Name of Plaintiff: Came \ Jann)
Inmate No. olt3- 0% }
Address: Olen Boy Road Pow 4
Rann, WY auao
Pow

Case 1:18-cv-00416 Document3 Filed 03/09/18 Page 2 of 51 PagelD #: 5

Additional Plaintiff(s) (provide the same information for each plaintiff as listed in
Item A above).

Name of Plaintiff:

 

Inmate No.:

 

Address:

 

 

Name of Plaintiff:

 

Inmate No.:

 

Address:

 

 

Name of Defendant: Na \/ | Al Wi can
Position: Wade
Place of Employment: (\ \de CLO tude c | Uris vy Cary P

 

Additional Defendant(s) (provide the same information for each defendant as listed
in Item C above):

Name of Defendant: Jerr od (¢ Wy ee
Position: Capt ‘at 0) |
Place of Employment: (Way CSM Fadel Pri st) Gano

 

 

Name of Defendant: Bar bara Py a Kar
Position: _ © iD \W Or ders ee,

Place of Employmen Adercan Eidaz LONER Cx my

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Case 1:18-cv-00416 Document3 Filed 03/09/18 Page 3 of 51 PagelD #: 6

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

ro XO De lendants<

~TVSlat

Additional Defendant(s) (provide the same information for each as listed in Item C above):
.. Name of Defendant: Maria Arviza
Position: Assistant Warden

Place of Employment: Alderson Federal Prison Camp

Name of Defendant: Ms. Wickline ; 7 . . |
§) Position: Secretary of Warden ont new yet Name Ur WA Tia

Place of Employment: Alderson Federal Prison Camp

Name of Defendant: Walter Ray

) Position: Case Manager

Piace of Emptoyment: Alderson Federal Prison Camp
_ Name of Defendant: C. Ambler
/ Position: Correction Guard/Counselor

Place of Employment: Alderson Federal Prison Camp

. Name of Defendant: R. Harvey

# Position: Case Manager/Unit Discipline Committee(UDC)
Place of Employment: Alderson Federal Prison Camp

. Name of Defendant: S. Trainum

* Position: Case Manager/Unit Discipline Committee(UDC)

Place of Employment: Alderson Federal Prison Camp

.. Name of Defendant: bd. Kelley
/ Position: Lieutenant
Place of Employment: Alderson Federal Prison Camp

_ Name of Defendant: Dorian Dickerson
” Position: Supervisor of Education
Place of Employment: Alderson Federal Prison Camp

_ Name of Defendant: M. McCabe
Position: Teacher of Education
Place of Employment: Alderson Federal Prison Camp

_ Name of Defendant: Heather Spradling
Position: Teacher of Education
Place of Employment: Alderson Federal Prison Camp

Name of Defendant: Christine Anthony
-yPosition: Chief Psychologist
“Place of Employment: Alderson Federal Prison Camp

_Name of Defendant: Dane Remick
“Position: Director of HSU
Place of Employment: Aiderson Federal Prison Camp

Name of Defendant: Kimberley Gailey -

Position: Teacher/Lieutenant
' Place of Employment: Alderson Federal Prison Camp

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Case 1:18-cv-00416 Document3 Filed 03/09/18 Page 4 of 51 PagelD #: 7

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

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FROM: 56613037
TO: Smith, Karen
SUBJECT: 11111
DATE: 03/06/2018 06:44:37 PM

., Name of Defendant: United States
Position: Federal Government
Place of Employment: | Washington, DC

ny Name of Defendant: Evan Jenkins
” Position: Congressman
Place of Employment: Congress

_ Name of Defendant: J.F. Caraway
+) Position: Regional Director
Place of Employment: | BOP-Mid Atlantic Region

. Name of Defendant: jan Connors

Position: Administrator
Place of Employment: National Inmate Appeal

PD
Case 1:18-cv-00416 Document3 Filed 03/09/18 Page 5 of 51 PagelD #: 8

I. Place of Present Confinement
\ : ™ ’ ra
Name of Prison/Institution: Aicloam Fedwadl. Cus Gump EPL
A. Is this where the events concerning your complaint took place?

Yes ) ‘ No

Ifyou answered “no,” where did the events occur?

 

 

 

B. Is there a prisoner grievance procedure in this institution?
Yes X No
Cc, Did you present the facts relating to your complaint in the prisoner grievance
procedure? Yes No

If you answered “no,” explain why not: Soy thy My Comaur 1S
Noy Due. Prowse Lig h_gnevanw ovcadure

If you answered “yes,” what was the result at level one,. level two and level three

(attach grievances and responses): Ryo N hing sted i) Camp\awn7
wet exhibrat All ang Gil evo Cirevarer OxayISe. Was hprrted .
TI. Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise related to your imprisonments?

Yes No / \

B. If your answer to A is “‘yes,” describe the lawsuit in the space below. If there is more
than one lawsuit, describe the additional lawsuits on another piece of paper using the
same outline.

 

 

1. Parties to the previous lawsuit:
Plaintiff(s):
Defendant(s):
3

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° "Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 6 of 51 PagelD #: 9

2. Court (if federal court, name the district; if state court, name the county);

 

3, Docket Number:

 

 

 

 

4. Name of judge to whom case was assigned:

5. Disposition (for example: Was the case dismissed? Was it appealed? Is it still
pending?)

6. Approximate date of filing lawsuit:

7. Approximate date of disposition:

 

Iv. Statement of Claim

State here, as briefly as possible, the facts of your case. Describe what each defendant did
to violate your constitutional rights. Include also the names of other persons involved, dates,
and places. Do not give any legal arguments or cite any cases or statutes. If you intend to
allege a number of related claims, number and set forth each claim in a separate paragraph.
(Use as much space as you need. Attach extra sheets of paper if necessary.)

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Case 1:18-cv-00416 Document3 Filed 03/09/18 Page 7 of 51 PagelD #: 10

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

FROM: 56613037
TO: Smith, Karen
SUBJECT: page 1
DATE: 03/06/2018 06:08:04 PM

1.) DEFENDANT DAVID WILSON, is the Warden at Alderson Federal Prison Camp as of January 8, 2017. He is legally
responsible for the operations of the prison and the welfare of all the inmates in the prison. The Warden is responsible for
ensuring that effective informal resolution procedures are in place and that good faith attempts at informal resolutions are made
in a orderly and timely manner by both the inmate and staff. The Warden may waive informal resolutions for Unit Discipline
Committee (UDC) appeals, or when informal resolutions is deemed inappropriate due to sensitivity of the issues. He also make
decisions on the Second Chance Act and immediate release. January 23, 2017: Plaintiff Johnson waited in line to meet the new
Warden of Alderson. Everyone was excited because he stated in visiting he was coming to make changes needed for the
Women. Upon the informal meeting, Plaintiff Johnson spoke of (sensitive) matters dealing with HSU, Mental Health Disabilities,
the treatment on Suicide Watch, Fraud and assault in the Education Department. Defendant Wilson had a nonbenevolent
attitude. Defendant Wilson yelled and accused Plaintiff Johnson of using the suicide room for unintended use, statina suicide
watch was for cutters. Defendant Wilson demanded that Plaintiff Johnson show Defendant her scares from cutting. Plaintiff :
Johnson stated | am not a cutter but do have mental health and suicide issues. Plaintiff Johnson stated she was in the
appeal process for her federal case and she was innocent and a professional. Plaintiff tried again to tell the Defendant of the
infliction of mental suffering by conduct of the flagrant character and treatment of the staff and guards. Defendant Wilson
started yelling at Plaintiff in front of everyone stating you are a criminal say it, say it. Defendant continued to yell in Plaintiffs
face, stating you are not a victim of your circumstance."You are a criminal” in front of everyone in the line. Plaintiff Johnson
stated "| repudiate your offer, it is not true." Defendant Wilson stated "a Federal Judge and Jury found you guilty on Federal
crimes and now you are in my Federal Prison doing Federal time, you was a professional out there but to me, you are a Junkie
or a thief in my prison.” Defendant Wilson continued with masochistic tones and auto suggestion with verbal insults to Plaintiff
Johnson with witnesses looking on. Plaintiff was humiliated and walked away crying. Information Plaintiff Johnson gave to
Defendant Wilson, Defendant should have exercised his authority in taking action to investigate and ratify the condition. The
Defendant participated directly with deliberate indifference in the alleged constitutional violate by signing off on the
Administrative BP-9's denial. Defendant was grossly negligent in supervising subordinates who committed the wrongful act.
Defendant knew about the conduct and violations, and helped facilitate it, approve it, condone it or turn a blind eye. Plaintiff was
traumatized beyond measures because of the deliberate indifference and excessive denial of providing mental and medical
health care, assault, retaliation, investigations of FRAUD in Education Department is an example of this wide spread, long
standing embedded practice. Defendant acted maliciously and sadistically with the infliction of cruel and unusual punishment on
the Plaintiff. There was evidence of deliberate indifference by repeated failure to make investigation into charges by Plaintiff.

Commit: Defendant Wilson and other staff are currently under investigation for Obstructing Justice with Misappropriation of
Government Funds etc. The FED's have been occupying space at Alderson Federal Prison for a few weeks and Warden Saad
is acting warden as of March 4, 2018.

Administrative Remedy:

Filed BP-9, BP-10, BP-11
Congressional Emergency Inquiry for Retaliation, Abuse, no mental health treatment and Protection, Misappropriation of
Government Funds etc.

2.) DEFENDANT BARBARA RICKARD, was Warden in 2016 and was legally responsible for all operations of Alderson
FPC. May 31, 2016 Plaintiff sent a cop out and affidavit of truth asking for mental health treatment for not feeling well. 2 weeks
before Plaintiff went on suicide watch. Defendant disregarded the urgency of Plaintiff's cry for help. Defendant showed
deliberate indifferent to Plaintiff by notifying Defendant(s) of mental help needed. By this knowledge, serious risk and failed to
act reasonable to get the mental health help Plaintiff requested. Defendants conduct showed reckless or callus indifference to
the rights of others and Defendant failed to act to prevent further injuries.

3.) DEFENDANT MARIE ARVIZA, Assistant Warden at Alderson as of January 2017. Defendant is responsible legally
for the operations and the welfare of the inmates at Alderson. BP-9 was signed and denied for due process by Defendant
Arviza in reference to the Fraud, abuse and assault in the Education Department on the Plaintiff. Defendant failed to act and
report abuse communicated by the Plaintiff by the BP-9 Administrative Grievance process. This communication was sufficient
notice of constitutional violation by the grievance process to alert Defendant of violation of Plaintiff's rights and have an
investigation started. It was deliberate indifference when Defendant fail to respond to Plaintiff request for help.

4.) DEFENDANT WICKLINE, (first name or initial unknown) Secretary of Warden, Administrative Remedy Coordinator
and Recipient signer of the BP-9 and contact for BP-10's from Regional Office which is a conflict of interest. Defendant monitor
the program operations and notified all staff wnen BP-9's, BP-10's and BP-11's come on office or entered in system to

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Case 1:18-cv-00416 Document3 Filed 03/09/18 Page 8 of 51 PagelD #: 11

REQUEST FOR ADMINISTRATIVE REMEDY JY

#892326-F1

This is in response to your Request for Administrative Remedy,
receipted on February 10, 2017, in which you are appealing Incident
Report #2940902 conducted on January 20, 2017. Specifically, you are
requesting the incident report you received for Code 306, Refusing to
Program and Code 307, Refusing to Obey an Order voided from your
records and file.

According to your records, on January 20, 2017, you were found guilty
by the Unit Discipline Committee (UDC) of Code 306, Refusing to
Program and Code 307, Refusing to Obey an Order. Specifically, on
January 18, 2017, at 2:00 p.m., you were instructed by the reporting
officer to complete an educational assignment during class time. At
3:00 p.m., the work was turned in incomplete with a message that you
were not willing to perform the task. The writer indicates that you
have stated you are incapable of performing the tasks you are given
and that you refuse to try. You admitted during the UDC hearing that
you are not completing any educational assignments due to pending
litigation of fraud in a West Virginia court.

It is the goal of the Inmate Discipline Program to prevent or deter
inmates from violating the Bureau of Prisons prohibited acts. There
is no indication your incident report heard by the UDC was improperly
administered by the reporting officer; therefore, your incident report
will not be removed from your disciplinary record.

Accordingly, based upon the above information, your Request for
Administrative Remedy is denied. Tf you are not satisfied with this
reply, you may submit an appeal to the Regional Director, Mid-Atlantic
Regional Office, 302 Sentinel Drive, Suite 200, Annapolis Junction, MD
20701 on the appropriate form (BP-10) within 20 calendar days of the
date of this response.

Kl 3-3-/7

David R. Wilson, Warden Date
‘DETAILS: ond v Weekes BOT 6 utd Osseratlihdi al HeilePc sk Ed Sridhage MOMesdbaGRdtve: Batley in

attendance. Thay held me hostage under stress, sa if attempted coercion. Mr. McCabe was threatening by blocking the
entry door as Ms. Spradling yelled at me about Special Education they enrolled me in. | explain to Ms. Spradling | have mental
health issues and need mental health treatment not Special Ed. | asked her to produce the fraud test and paperwork
establishing | need Special Ed. | stated we should not be speaking since we are in litigation. Ms. Spradling yelled she did not
care and | was going to take a test. | stated | could not aid and abet their fraud and would not submit to testing until | hear from
the "JUDGE". Mr. McCabe would not move from the blocked door. The way he was standing and looking | thought he was
going to hurt me. | was traumatized. | panicked and reached my arm between his arm and turned the door knob and | ran to Lt.
Oaks office. Ms. Spradling was screaming I'm going to take your “good time”. | told Lt. Oaks what happen and he called
Education. | was shaking, nervous and sweating. He walked me to Dr. Anthony's office and she stated no one was going to hurt
me but my options was Suicide watch or R&D. | told her | could not handle either because of the way | was treated on suicide
watch June 2016. | called my sister and stated | was afraid and was held hostage by 3 staff.(I still feel traumatized when see
them.) The next day, | introduced myself to Warden Smith and told her everything. Warden Smith was shocked about the fake
test scores and held hostage by Education Staff. Warden Smith walked me to Ms. Dickerson and Warden Smith ordered Ms.
Dickerson to handle this situation with an update. The next day, |! met Ms. Dickerson at Education. Ms. Dickerson apologized for
her staff and stated she was removing me from the program. She stated she created a letter but had to focate it and to come
back the following Monday to sign. She stated after we signed the letter it would take 3 days for her to remove me from the
program and to watch the call-out. Around that same time frame | was cailed to Lt. Kelley's office. He stated he needed a
statement on the hostage situation. As | was telling him what happen he stopped writing. | asked him why did he stop writing?
Lt. Kelley stated | thought it was inmates who held you hostage. | met with Ms. Dickerson Nov 7, 2016. She stated she could
not remove me from the program until Nov 30, 2016. We went to the Resource Center and Ms. Dickerson asked an inmate
worker to create me a sign in/out sheet to use everyday until the end of Nov. 2016. Ms. Dickerson told me | gould bring my own
book to read. First week of Dec. 2016 | saw Ms. Dickerson and Ms. Wheeler at the Gym. Ms. Dickerson ask "Are you still sitting
at the Resource Center?” Ms. Wheeler stated she see me there.everyday. Ms. Dickerson asked me to come to her office the
middle of Dec 2016. When | arrived she stated | needed 240 hours to sign out the program and she needed test scores from
me. | asked her where is the test they say | took that established | need Special Ed? | reminded her she stated October 2016
she was signing me out the program because of the fraud, the hostage situation by her staff and the law suit | filed. | stated |
could not take a test because it is listed in'a lawsuit for fraudulent test scores by her staff and | was waiting for the Judge's
ruling. | backed out her office and stated | was returning to the Resource Center. | left Ms. Dickerson’s office discouraged. Jan
18, 2017 Ms. Dickerson came to the Resource Center for the first time since | was assigned there. She laid down a test with a
few answers already in faint pencil. She asked the inmate staff.to bring her the test when | finished. | wrote in blue ink
something to the fact--"l reserve ail rights and | do not know the full scope of the contract." | spoke with Ms. Dickerson Jan 23,
2017 how she was suppose to sign me out this program and how.| was. stressed and traumatized by this ordeal. | stated this is
retaliation, discrimination, falsifications, concealment of truth and abuse of power to an inmate with mental health issues. She
stated she remembered all that but she looked at me with a’stoicism and canonical stare and stated “I follow policy."

 
   
  

nce | filed the case# 1:16-CV-06206 in West VA Court lL have experienced retaliation and discomfort.
i: This unusual punishment by and employee and other staff who withheld,
soncealed information, lied and retaliation have me in a common corridor called the "bus stop”. This bus stop has cancer

sausing hot fluorescent/fluorescence lights on 24 hours a day and | am on the top bunk. This practice was implemented in
concentration camps in the 40's by the Germanys. | am a 50 year old woman whom has mental health and sleep disorders

ssues. This abuse isnothuman. _ _
*“fluorescence: luminescence caused by radiation absorption that cease almost immediately after the radiation has stopped.

fluorescent lamp: ultraviolet light, material that coats the inner surface of the lamp.

““Based on "POLICY 3420.11 "Standards of Employee Conduct" issued by Office of Government Ethics | know | have been

 

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CObyimtZ roto 037 28-19 bonaced Dale 3-2. (7 OF IG ine! de . 232
Defendant Wicklig@sce 1:18-cv-00416 Document 3 Filed 03/09/18 Page 10 of 51 PagelD #: 13

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

Defendant. Defendant responsible for signing and rejection of notices and data entry in the Sentry system. Matter alleged on
information belief to be true by other inmates whom been at Alderson for years. Plaintiff believes all BP-9"s and BP-10's
stopped with Defendant on the processing of Administration Remedy Grievances most always go with out remedy or
consequences for staff or guards. February 6, 2017 Defendant entered the Administrative Remedy information in the Sentry
system and rejected the first attempt by Plaintiff looking for remedy. Defendant remarks was for Plaintiff to file separate UDC,
GED Program separately in order for the complaint to be accepted. Plaintiff stated this would liquidate the issues because it
was all the same issues. Defendant stated to counselor the BP-9 will be denied all together if it is not prepared the suggested
way. The assault, fraud or abuse was not acknowledged by the Defendant. The coordinator should have requested an
investigation per the program statement. Matters specific to staff involvement of fraud and abuse may not be investigated by
either staff alleged to be involved or by staff under supervisor. Allegations of physical abuse and fraud by staff shall be referred
to the Office of Internal Affairs. Where appropriate when OIA or another agency is assuming primary responsibility for
investigation of the allegations. Defendant refused to act by reporting abuse by way of requesting and investigation. Through
the grievance process gave sufficient notice to alert an full investigation of the violations of law given by Plaintiff which was
sufficient notice of violation of Plaintiffs rights. This was a clear persistent pattern of mishandling of Administrative Grievance for
inmates causing deliberate indifference and failure to act was the moving force or direct cause behind Plaintiff's injuries. This
demonstrated a custom to show persistent and widespread practice across the board. This permanent practice is well settled
as to constitute a custom of usage, long standing, deeply embedded traditional way to carrying out a course of action
deliberately not favorable to the inmates. Defendant Wickine help facilitate abuse and fraud, approved of it, condoned it, or
turned a blind eye, in turn was grossly negligent and deliberately indifferent by violations of Plaintiff's to have the right to due
process was ultimately denied. This dishonest deliberate indifferent act is maliciously and sadistically cruel and unusual
punishment.

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Case 1:18-cv-00416 Document.3.. Filed 03/09/18 Page 11 of 51 PagelD #: 14

REJECTION NOTICE - ADMINISTRATIVE REMEDY J

DATE: FEBRUARY 6, 2017

FROM: ADMINISTRATIVE REMEDY COORDINATOR
ALDERSON FPC

TO : CARMEN JOHNSON, 56613-037
ALDERSON FPC UNT: 1 QTR: AO1-661U
GLEN RAY RD. BOX A
ALDERSON, WV 24910

FOR THE REASONS LISTED BELOW, THIS ADMINISTRATIVE, REMEDY REQUEST
IS BEING REJECTED AND RETURNED TO YOU. YOU “SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.

REMEDY ID : 891092-F1 ADMINISTRATIVE REMEDY REQUEST
DATE RECEIVED : FEBRUARY 3, 2017

SUBJECT 1 : SECONDARY EDUCATION (GED)

SUBJECT 2 : UDC ACTION

INCIDENT RPT NO:

\A
REJECT REASON 1: YOU DID NOT PROVIDE A COPY OF THE DBO REPORT YOU
WISH TO APPEAL OR. IDENTIFY THE CHARGES AND DATE
OF THE DHO ACTION.

REJECT REASON 2: YOU DID NOT SUBMIT THE CORRECT NO. OF COPIES OF THE
' - ATTACHMENTS (NEW DOCUMENTATION NOT CONSIDERED BY LOWER
LEVELS). 2. AT INSTITUTION; 3 AT REGION; AND 4 AT CENTRAL
OFFICE. THE NUMBER CITED INCLUDES YOUR ORIGINAL.

REJECT REASON 3: SHE REMARKS.

REJECT REASON 4: YOU MAY RESUBMIT YOUR REQUEST IN PROPER FORM WITHIN
5 DAYS OF THE DATE OF THIS REJECTION NOTICE.

REJECT REASON 5: YOU RAISE MORE THAN ONE ISSUE/RELATED ISSUE OR APPEAL MORE
THAN ONE INCIDENT REPORT (INCIDENT NUMBER) . YOU MUST
FILE A SEPARATE REQUEST/APPEAL FOR EACH UNRELATED ISSUE
OR INCIDENT REPORT YOU WANT ADDRESSED.

APPEAL UDC ACTION. INCLUDE COPY OF INCIDENT REPORT

REMARKS *« FILE SEPARATELY FOR REMOVAL FROM GED PROGRAM AND
WITH UDC ACTION. 5 DAYS TO RESUBMIT.

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 12 of 51 PagelD #: 15

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

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FROM: 56613037

TO: Smith, Karen

SUBJECT: 2

DATE: 03/06/2018 06:09:37 PM

5.) DEFENDANT WALTER RAY, is the Case Manager at Alderson. Defendant deals with inmates in his unit with
classifications, programming review and procedures, preparation for parole and release planning. Defendant is the liaison
between the inmate, administration and community. Defendant handle all correspondence request, incoming calls and letters
per the Alderson's handbook. Defendant hold the power to recommend early release through the Second Chance Act for
highway house and home confinement. Defendant sets the tone between the Probation Officers, staff and guards for the
inmate. August 2015 second week of Plaintiff's arrival, Plaintiff's attorney called, faxed and mailed letter stating the physical,
mental and emotional condition Plaintiff Johnson was in and to advise, the Plaintiff must not sign anything because of her state
of mind without legal or family review. Defendant Ray did not follow up with the continued calls from Plaintiff's attorney or letter.
Defendant did however acknowledge something was wrong with the Plaintiff by asking the Plaintiff "Are you stupid or
something?" Plaintiff stated she was unable to comprehend or mentally function. Defendant stated he never received a call from
Plaintiff's attorney and he don't have to follow up with them. Defendant even looked around the room and stated, "I don't see
your attorney and your sister here in this prison | only see you and you better sign this paper." The plaintiff started crying when
the Defendant asked her was she retarded? Plaintiff stated "| been through something and | cant function." Defendant stated
"there is no mental health treatment here, you went through medical screening and was released by medical with no mental
issues for CDR work, now get out of my office." Plaintiff went back to Defendant several times asking for help. May 2016
Plaintiff unable to function mentally and 2 weeks before suicide watch, wrote an affidavit of truth of her mental experience with
request for help, and had the affidavit notarized by the prison Secretary. Plaintiff was called in Defendants office to go over the
affidavit. Plaintiff stated she was being called crazy, retarded and Nigger at CDR work assignment. Defendant stated he was
not going to change the work assignment. Plaintiff also stated she needed more time to locate GED information because the
school was closed by FED's 27 years ago per sister. Plaintiff requested an mental health exemption for testing and GED class,
just until she could deal with her situation being in prison, appeal of Federal Case, mental health issues and location of GED
file. Not being in prison before, Plaintiff asked the Defendant how could she stop the abuse at CDR and get the exemption, the
Defendant stated nothing can be done and HSU medical says nothing is wrong with you. Defendant stated he would not go
over the CDR's head and change the job assignment. The abuse at CDR kept Plaintiff in a mental, physical, emotional, abusive,
bullying and harassing situation. Plaintiff went back to Defendant's office again and stood in the middle of the Defendant's floor
crying, “please help me". Defendant responded "I cant help you". Defendant ordered the Plaintiff out his office and as plaintiff
was leaving the Defendant stated "Please tell Mr. Reed hello”. Which was the supervisor of CDR. When Plaintiff went back to
work Plaintiff was ordered to scrub (3) 10 feet tall freezers outside in 95 degree weather and scrub the lobby walls and floors
with a small brush as inmates laughed and recited House Nigger. The sun was so hot it fried Plaintiff's hair, face and arms.
Defendant denied Plaintiff due process when he stated there was nothing she or he could do about any of the Plaintiff
situations. Nor did Defendant order an investigation on the informal complaint of abuse at CDR by Plaintiff because Defendant
Ray ordered the hit on Plaintiff. 2 weeks later June 2016 Plaintiff was on Suicide Watch. After suicide watch Plaintiff went back
to Defendant trying to explain the abuse on suicide watch and defendant responded by saying there is nothing you can do.
Plaintiff was not aware or understood at that time about Administrative Remedy Process or the 2241 process. August 2017
Plaintiff had submitted requested several times to be released under the Second Chance Act for mental and medical health
care not offered at Alderson among other extraordinary circumstances in Plaintiff's life in order to rebuild after prison. 6 months
was offered at August 2017 team but when Plaintiff went to team January 2018 defendant stated to Plaintiff he was not aware
of what she was speaking of with the Second Chance Act. Defendant suggested to Plaintiff to do a cop out and request to
waive home confinement. Plaintiff asked the Defendant why do she need to write a cop out about refusing "Home
Confinement"? Defendant would not answer and told Plaintiff to bring the cop out to the next team which is July 2018 team.
Plaintiff stated that would be to late for the Second Chance Act and the Defendant said he did not care. The inmate women are
afraid to speak with Defendant about anything because of his egregious, disrespectful, flagrant attitude toward the female
inmates. Defendant Ray is liable for deliberate indifference when he knowingly fail to respond to Defendant's continued
request for help. Defendant acted under a history of widespread abuse by not notifying abusers and correcting or the alleged
deprivation by way of and investigation or removing plaintiff from hostile situation the Defendant failed to do so. Defendant knew
about the conduct and help facilitate it, approve it, condone it or turn a blind eye to it. The Defendant actions of grossly
deliberate indifference by actual knowledge of something mentally being wrong with Plaintiff which created a serious risk by the
Defendant acting maliciously and sadistically created a cruel and unusual environment for Plaintiff. Defendant set in motion a
series of acts by others, knowingly refuse to stop abuse and inflict constitutional injuries on Plaintiff. Defendant knew and
participated directly with the violations which show reckless and callus indifference to the rights of the Plaintiff.
 

 

is Lae a are, :, whatever your circumstances, my” comm itment to you 15 te
succeed. J want your life to go forward in a positive direction - a direction. personally fulfilling to you put - ee
also a direction which ensures the safety of Me staff and inmates who interact. with you each i a

 

 

aL know your road ahead is not 2 an easy 0 one. . Be wing to request help from those around you. oe

“Lean from yesterday, live for oa, hope kar tomorrow.”

Pay i : ” Albert & Einstein Lo :
oor Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 14 of 51 Pkg,

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Ys.

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

FROM: 56613037 - > Ur. | bay Poeg Why

TO: Johnson, Xaviera

SUBJECT: Affidavit of TRUTH k At S 0 “Alt Tae ~~

DATE: 05/31/2016 06:37:53 PM

Affidavit truth and facts Nn ie | lath W
Ielistor
|, Carmen Johnson give my word this is my affidavit of truth. | am and innocent woman whom was politically hit. | am currently
going through the appeal process in the 4th circuit. | was diagnosed in Maryland by Dr. Huffer with PTSD Legal Abuse
Syndrome Jan 2015 and it was filed in court where | had my trial Feb 2015. Besides from Government Misconduct and wrongful
imprisonment | suffer from many distortions. On my pilgrimage to Alderson FPC from 4 county jails | lived on dirty water, rotten
oranges, boiled egg whites and bread for 7 months. | lost around 40 pounds. When | arrived nere | looked like a victim from a
concentration camp. | did not remember my name or what happen io ree. After experiencing good food, a clean facility, some
nice inmates and professional staff | started physically feeling better. However, | started having flash backs of the things |
encountered from the catalyst of experiences of government misconduct and transferred to 4 different county jails. Not to
mention | did not see the sun while in county custody. Weekly, | witnessed fights with women using knives, chairs, food trays
and phones to hit each other. | survived gas and smoke bombs. Innocent people should never witness the things | saw before |
came here. My first meeting with Mr. Ray | tried to explain my mental issues to him but he did not listen. My attorney tried to call
Mr. Ray for a month to explain my mental state but Mr. Ray has never returned his call. Mr. Ray is a very professional man but
because of my distortions he looks and act like an FBI agent which makes me terrified of him. When | meet with him | physically
and mentaily shut down and stress out of fear. Mr. Garrett did listen and sent me to talk with Dr. Stuart. At that time she said
she understood the legal abuse | went through but she never heard of PTSD Legal Abuse Syndrome. Her concern was all the
prescribed medicine | was court ordered to take 18 plus months and the damage it may have had with me going cold turkey. |
explained to her my brain felt like it was "FRIED". There is a slight head ache that never goes away and | still have it today, We
talked about her signing me up with TRAUMA class but | never heard back as of today. She also explained she could not see
me one on one but suggested | focus on self healing and meditation. With the help of Mr. Garrett again | met with Dr. Adams
once because Dr. Stuart was not available. The mental set back for this meeting my roarnmate at the time was being abusive
by calling me retarded, crazy and stupid. Being a community leader for over 15 years this perception of me to others has
continued to devastate me. Dr. Adams did the best she could that day in the conversation but we never had a dialogue together
before which made it difficult to understand my struggles. | have since then tried to focus on self help and meditation and | did
manage to pull myself together where | could at least process the survival of daily life here. | have a good job whom ail my
bosses like me and | like them. | spend most of my free time alone because | don't trust anyone but | do feed the birds, squirrels
and smell the fresh air daily. | attend Buddhism and metaphysics studies. With these studies | am working on my fears and |
have made the conscious choice to open the door of my illusions that holds me confined to the darkness. | been trying to
alleviate the suffering and distortion in my illusion through meditation per the advise of Dr. Stuart. But my question is how da
this hefp my "Fried: Brain Cells"? The Americans with Disabilities Amendment Act, say PTSD can not be treated with rnedication
and | need to be receiving therapy and accommodations for my nsychiatric injuries. On page 7 of Alderson’s hand book
HSU is responsible for my medical needs and provide services necessary to accommodate my medical concerns. However, |
ain terrified to go over there because of my past experiences with them. Page 26 the hand book states Action will be taken to
have me evaluated. When | arrived at Alderson | explained to HSU of my PTSD. and the fact Maryland Court sent me to
Washington DC medical facility Jail for almost 7 months. 18 months at pretrial | was prescribed Klonopin by the court therapist.
The first 3 months in DC Jail | was doped up on Trizondone 375mg, Kionopin and something else. These pills had me ina
zombie state, bumping into walls and slobbing from the mouth. | feel and KNOW this combination of prescribed medicine
FRIED my brain cells and kept me in and hallucination state. My sisters came to visit me in DC Jail and when they saw the
mental state | was in with the help of my attorneys they was able to get me off the medicine and receive one on one therapy.
HSU said they did not see anything in my medical file that suggested this. | tried to explain but was told | would not get one on
one therapy here and was threaten with a write up if | refused the medication at that time. | took the pills for a awhile but they
created suicidal thoughts and made my brain hurt even though it was a low dose.

 

  

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The reasons for my. set backs are as follow:
Reason 1: May 2016 | was denied bond from the lower court who put me here.

 

Reason 2: May 2016 | was denied R-DAP. The PSI don't mention my 5 years prescription drug abuse started with the ist of 3
raids on me. However, the J and C reflects the judge listing drug treatment. | don't remember the PSI interview.

Reason 3: May 2016 My roommate Tameka Bruce left after 8 years of imprisonment here. She was a great Alderson mentor.

She taught me how to clean my chakras, meditate and sit in the silence to experience GOD. This helped to heal my mind, body
and soul. However, | notice lately | can not hold my thought on the void. Also, Rita Flagg Hines was in the cube next to me and
we always talked because she went through the appeal process. She was a great older lady support physically. She left a week

Yaa
 

Case 1:18-cv-00416 Document 3 Filed 03/09/18 Pagg 15 of 51 Pagel #AWL IC KAY»

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ago to go home. | miss both of them and they were the only 2 women | really talked too.

  

“May 2016 My sister says the school | attended for my GED in 1988 or 1989 was closed for FRAUD 20 something
go. My sister did contact th ‘0 find out what steps need to be taken to locate the archived files

for my GED, Data Entry and Bookkeeping information from PTC Institute 30 years ago. However, | was told by Education at
Alderson {| am enrolled in the next GED class starting June 2016. Around Dec 2015 | was tested by Mr. Risnick in education. |
explain to him | could not take the test because | felt my brain was fried and of my PTSD. He said | had to take the test or he
would call the head officer and he kept saying "You don't want that." | did attempt to take the test but could not function. | was
unable to focus or comprehend anything on the test. Not to mention the panicking, sweating, shaking and anxiety. | hand wrote
on the test | can not comprehend or finish the test. Afterward, | sent 2 or 3 emails to the Education Department, The Warden
and Dr. Stuart explaining | could not take the test because of my PTSD issues and medication abuse. Dr. Stuart did respond
and said there was no such thing as PTSD Legal Abuse and she do not have the staff to offer me one on one therapy. | asked
her if she could move pass her conceptual beliefs of legal abuse and understand | am in fact suffering from PTSD. | also
explained to her at the time | had suicidal thoughts because | was starting to go through the court appeal process. She said she
signed me up with the waiting list for "TRAUMA Class" and 4 weeks at the psych lab and meditation room. | never heard from
Education on the test or my medical condition. At this time | am unable to function and very overwhelmed, There are to many
things going on in my head and | can not focus. However, Alderson has helped me physically this far in which | can not deny.
On page 55 and 56 of the handbook it states the Educational Advisor will meet with me to "PLAN" course in enroliment needs.
It also states it is the inmates responsibility to verify the completion of General Education Development. | am asking for a litte
more help from Alderson by giving me more time to get the GED verification that is needed. | am also asking for and extension
on starting this class for June 2016. ,
| have received the following education in the past 20 years as follow which are not mentioned on the PSI.
1) Bachelors Degree in Theology from International School of Theology, 2002
2) Certified Educator of Financial Literacy from Certification of Financial Literacy, 2008-2014

a) certified in Debt Management

b) certified in Residential Housing

c) certified in Financial Literacy

d) certified in Credit
3) Honoree PHD in Philosophy from Opus Dai, 2014

   

Reason 5: Dec 2015 - May 2016 Going through the appeals process trying to read the documents, comprehend and remember
what | am reading has been very difficult for me. | am also having flash backs, night/day sweats, shaking, memory loss, cant
retain information etc. | have to read the same page over and over again before | can go to the next page. | also experience, not
pronouncing my words correct, no memory of conversations with inmates and forgetting their names. | cant remember most of
the guards name, get my supervisors names mixed up. | get around this by calling everyone Madam or Sir.

Reason 6: May 2016 | signed up with chess classes at rec last month to help with my memory and strategy. | went to class on
Saturday 5-28-2016 and have forgotten everything learned. | did not remember the pieces name or how they move.

Reason 7: May 2016 | started a class called “Basic cognitive Skills” in a group setting which started last week. | believe we
meet every week for 8 weeks(?). The book has a prison on the front and talks mostly about issue surrounding prison life. It is
difficult for me to be in a class like this when | am fighting for my life going through and appeal for my innocents. | feel this class
is and oxymoron for me. But | am optimistic and will try to focus and try to comprehend the help.

Reason 8: May 2016 | been having flash backs because June 3 is the anniversary when the judge sentence me to 57 months in
jail when | was told by the old attorney It would be time served. | am devastated because on Feb 20, 2016 when the jury found
me guilty | was arrested immediately and never went back home. So | can not sleep, eat or stop thinking about this date coming

up.

My suggested resolution:
| thank Alderson FPC for the help it has provided me this far.

1. | am respectfully asking for one on one therapy to help me walk through my problems, illusions and realty.

2.1 am requesting for more time to work through the verifications that are needed in Education

3. | am requesting for a extension on starting this GED class for June 2016.

| am in no mental state ready for a class when | can't process information, comprehend or rernember the basic things in
Education. | know my brain has been fried with all the potent psych medication | was on. | need help to cope with my fears,
anxiety, panic attacks and feeling overwhelmed (etc) with the things | am currently dealing with. | can only tell you Post
Traumatic Stress Disorder is real.

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BREAKING NEWSVIDEO BLOGS PHILADELPHIA NEWJERSEY POLITICS EDUCATION OPINION OBITUARIES NATIONAWORLD WEATHER TRAFFIC LOTTERY

Collections « Trade School

Pte Institute Shuts Doors Owners
Accused Of Misusing Funds

by Josaph R. Daughen, Daily News Staff Writer

POSTED: March 15, 1824

 

A trade school accused of misusing federal education money has
suddenly

closed, throwing 200 instructors out of work and cepriviny 1,600
students of the.classes they paid to attend.

The school, PTC Career Institute, operated in Philadelphia and five
other cities until it closed without notice last week. Yesterday, a group
of angry students who had paid about $4,000 each for a five-rnonth
nursing assistant course gathered in frustration outside the PTC facility
at 40 N. 2nd St.

"We've been hearing all kinds of rumors about the schoo! being in debt
and teachers not getting paid,” said Janet Peterson, 26, of North
Philadelphia. "They kept pushing the graduation back, to April 8, then
April 23, then May. Last week, it was closed due to the heating system
breaking down. We can't get any information.” :

Ahand-lettered sign on the front door of the three-story structure said,
“Due to a broken heater motor we will be closed until further notice.”
The sign was dated March 7.

The students said they were instructed tc call the school for further
information, only to hear a message that said: "PTC is temporarily
closed. As seon as we have further information we will contact all
students and staff.”

The Philadelphia PTC employed about 50 instructors in nursing
assistance, private security, building maintenance and various aspects
of computer operation. About 300 students were enrolled.

Joel Sweet, an attorney for PTC, said the company closed its six We Recommend

schools ounce Hamnite sete yuan ous evita et
because the U.S. Department of Education had cut off funds “without Trade School Told. To Pay $131,000
justification.” Those funds, in the form of grants and loans, helped June 30, 1994 :

students pay for their classes.

Trade School Stays Open On Appeal

Almost ait of PTC's students here and in Atlanta, Baltimore, Newark, December 28, 1993

Detroit and Chicago received some sort of government tuition aid. 5

Sweet said that without the assistance, which constituted a substantial Taking Taxpayers To School Trade-
part of PTC's $16 million in annual revenues, the schools could not school Lobby Gets High Marks
remain open. September 22, 1993

In a Jan. 5 letter fo PTC owners Richard and Rimona Friedberg, . tat

however, the Department of Education said it was withholding funds Pic Schools That Didn't Make Grade
because of the Friedbergs’ misuse of the federal money, including November 5, 1992

paying themselves salaries of $300,000 each and paying their two cee ae cee nn
sons and a daughter-in-law $200,000 each.

 

The Freidbergs, both 52, were convicted in separate trials of evading Find More Stories About

more than $130,000 in taxes. At their trials, testimony was presented ee I
accusing them of spending that amount to fix up their $700,000 Trade School

Villanova home, then writing it off as a PTC business expense. They

are free pending appeals. eT

Stephanie Babyak, a spokeswoman for the Education Department,
said her agency is contacting the states where PTC operated to enlist
their help in putting together “teach-outs,” in which affected students
would finish their courses at other schools.

The Pennsylvania Depariment of Education said PTC's license here expired March 1.

     

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 17 of 51 PagelD #: 20

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

FROM: 56613037

TO: Smith, Karen

SUBJECT: page 3

DATE: 03/06/2018 06:10:57 PM

6.) DEFENDANT C. AMBLER, is a correctional guard, unit team and counselor at Alderson. He conducts formal groups,
individual counseling, and serves as liaison with staff members and inmates. Defendant answers inmates questions and
discusses grievances, BP-9, BP-10 and BP-11 forms when requested. January 23, 2017 Defendant conducted the
Administrative Remedy informal for the Incident report enforced by UDC. Defendant stated to Plaintiff that she was sanctioned
and a waste of time fighting it. The Plaintiff was order to the bus stop in corridor area within 48 hours. Plaintiff asked the
Defendant for a SENSITIVE BP form because this was retaliation for filing a 2241 in 2016 on the Education Department for
fraud. Defendant stated he never heard of a Sensitive BP form and he called someone on the phone, stated Plaintiff's full name
and was instructed to tell me there was no Sensitive Process. January 24, 2017 Plaintiff went back to Defendant and asked for
a BP-9. Plaintiff asked for instruction on the process and Defendant clearly stated there is no instructions and he was not aware
of the process. Plaintiff went to inmates and located the program statement with written instruction. January 25, 2017 Plaintiff
took the program statement instructions to Defendant showing that there is in fact a BP Sensitive for abuse or retaliation by
staff. Plaintiff read the instructions to the Defendant. February 5, 2017 Plaintiff tried to get a BP-9 for being dragged on the floor
by and unknown Nurse January 2017 when Plaintiff fainted. A few inmates wrote statement saying they saw guards circle the
Plaintiff and unknown nurse tried to wake Plaintiff up by strangling and dragging Plaintiff on the floor. Defendant said he would
get back with me once he found out what to do. Plaintiff also talked to Defendant about the T5 Fluorescent cancer causing
lights at the bus stop. Defendant put the 50 year of Plaintiff on the top bunk bed, lights 3 feet above her head, these hot lights
stay on 24 hours a day and burnt the plaintiff skin. Defendant stated you have been sanctioned and you cant be moved. Plaintiff
stated you moved other inmates and there are 10 lower bunk beds open, once again, he stated no. Plaintiff asked again can
you please move me to the bottom bunk the lights are to hot and plaintiff showed him her neck, lighter then the face with
scorched blotches and appearance of sun burn, affect of the T5 lights. Defendant stated it was out of his hands. After 32 days
on the bus stop under hot T5 lights, Plaintiff asked to be moved to a cube facing east, she is Buddhist and need to meditation
and pray 3 hours sun up and 3 hours sun down in the lotus position sitting on the bed because the concrete floor was to hard.
Plaintiff stated she did not want to disturb other inmates. In the past inmates did cop outs stating Plaintiff looked spooky sitting
on bed, silently for 2-3 hours not moving in the middle of the night and called Plaintiff a witch. Defendant stated "I have nothing
to do with your religion, grab your rug and go to chapel to pray. Plaintiff stated the chapel is not open in the middle of the night.
Defendant denied the religious request and placed Plaintiff in the middle of range surrounded by inmates all the way around,
even with other cubes available to accommodate the plaintiff's religious request. Defendant stated "I can’t help or do nothing for
you" as he packed up his items and walked out his office leaving Plaintiff standing there. Defendant participated directly in the
alleged constitutional violations after being informed through informal request for help by Plaintiff. Defendant exhibited
deliberate indifference to the right of inmate by failing to act on information indicated that unconstitutional violation are
occurring, knowingly failed to act. Defendant failed to remedy the wrong by requesting and investigation which made Defendant
grossly negligent by not reporting the wrong, helped conduct and facilitate the act, approved of the act, condoned the act or
turned a blind eye.

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BP-$148,055 INMATE REQUEST TO STAFF  cprrM are | C. BME. a
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0. 8. DE ARTMENT OF JUSTICE | FEDERAL BUREAU oF PRISONS
and Title of Staff Member) DATE:
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REGISTER NO,

Carmen an Bolet3~ 089

WORK ASSTGNMENT : UNIT ‘A f
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SUBJECT: (Briefly state your question or concern and the solution you are requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being
taken. a necessary, you will be interviewed in order to successfully respond to Your

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TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

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FROM: 56613037

TO: Smith, Karen

SUBJECT: page 4

DATE: 03/06/2018 06:18:52 PM

7.) DEFENDANT R. HARVEY, is Unit Manager and Chairwoman of Unit Discipline Committee(UDC) with responsibilities
for implemental and operations of the Administrative Remedy Program and Unit Manager at Alderson. UDC conduct hearing for
incidental reports. At the UDC hearing the inmate can make a statement, witnesses and present documents of evidence. The
UDC hearing either resolve the issue formally or can request an extension or refer the incident to Discipline hearing Officer
(DHO) higher level for probable causes.

8.) DEFENDANT S.TRAINUM, is Case Manager and member of Unit Discipline Committee(UDC). Defendant is
responsible for implemental, operations and hearings for the Administrative Remedy Program and other duties as a case
manager an present at UDC hearings.

Defendant Harvey and Defendant Trainum had the UDC hearing January 18, 2017. (30) minutes before the untimely UDC
hearing, Plaintiff fainted and was strangled and dragged on floor by unknown nurse with witnesses present. Plaintiff was taken
to HSU medical and about (5) minutes iater Plaintiff was ordered to go to range. Medical staff stated nothing was wrong with
Plaintiff because unknown nurse said she could see Plaintiff veins from across the room. Plaintiff was trying tell her the
symptoms, unknown nurse ordered Plaintiff to leave and report to counselors office. Plaintiff came in office and Defendant
Harvey stated this is your UDC hearing, we been waiting for you and we want to get through this quickly. Plaintiff explain she
fainted less then 30 minutes ago and just came in from HSU, can the meeting be rescheduled? Defendant Harvey said no and
proceeded reading the disciplinary report and asked the Plaintiff what do she have to say. Plaintiff stated, October 2016 Plaintiff
was ordered by Defendant Dickerson, Supervisor of Education, to sit at the Resource Center (NOT in a class) for over 4
months, waiting on Defendant Dickerson to exempt Plaintiff from the GED program because Defendant's staff enrolled Plaintiff
in program when Plaintiff was on suicide watch, with fake scores and no evaluation. October 2016, Defendant Dickerson's staff
of 3 attempted to hold the Plaintiff hostage in a close door room, by attempted force to sign the GED documents, through
stress, duress and coercion. Plaintiff was stopped by Defendant Harvey saying "You were not where you was suppose to be".
Plaintiff stated | was ordered by Defendant Dickerson to sit at the resource center until she finished the GED exempt
documents. Defendant Harvey stated "well you refuse to do your assignments". Plaintiff stated "the only assignment was for me
to bring my own book to read, until January 18, 2017, Defendant Dickerson laid a elementary school test on the table for
Plaintiff in the resource center and walked out. 3 witnesses worked at Resource Center and myself examined the 1st grade test
with answers already listed in pencil by Defendant Dickerson. Plaintiff stated to Defendant Harvey she was confused, why the
Defendant would hand her a test with answers already listed. Plaintiff Johnson stated she wrote on test "I repudiate the offer
because | don't understand the scope and terms of the contract". Plaintiff stated to Defendant Harvey to Plaintiff's
understanding she was sitting at resource center waiting for Defendant Dickerson to exempt her from the GED class.
Defendant Harvey stated why did you not tell Lt. Kelley the writer this whom did the investigation? Plaintiff Johnson stated "|
did" but the same reason why you are not writing my statement is the same reason Lt. Kelley did not write my statement."
Plaintiff went on to state "this is retaliation for the 2241 | filed in courts for fraud, assault and abuse in the Education
Department". Defendant Harvey stated | don't know anything about that. Plaintiff Johnson started pulling out the the court
documents when Defendant Trainum yelled loudly " This is not why we are here and you been found guilty on 306 refusal to
program and 307 refusing to obey an order." Plaintiff stated | have witnesses, this is not true. Defendant Trainum stated “you
should have told Lt. Kelley the writer, investigator all this." Plaintiff stated | did. Defendant Trainum stated it is not in your
statement by Lt. Kelley. Plaintiff asked Defendant Trainum, what do the statement say? Defendant Harvey read the statement
by Lt. Kelley and Plaintiff stated "that is not my statement, | never said this." Plaintiff asked Defendant Harvey to read to Plaintiff
what Defendant Harvey wrote as Plaintiffs statement. Defendant Harvey also did not have (all) of what Plaintiff said. Which
made Plaintiff look guilty of the charges. Defendant Harvey stated we are only putting you on the bus stop, we could take your
commissary and phone but we decided to give you the bus stop. Plaintiff stated "this is not fair, | have witnesses, this is
retaliation for the court case | filed on Education, | never disobeyed this order, | questioned it." Defendants never mention
Plaintiff's good time taken. Defendants set a persistent pattern of mishandled UDC hearing by approval of deliberate
indifference and failure to act an official policy of inaction, and the custom of inaction was the moving force or direct cause
behind Plaintiff's constitutional injuries. This is a demonstration of custom to show persistent and wide spread practice. This
long standing permanent practice is a deeply embedded traditional way to carrying out a course of actions deliberately chosen
instead of reporting or investigating the violations. Defendants acted maliciously and sadistically by placing Plaintiff under cruel
and unusual punishment knowing there was questions that needed to be addressed by other Defendant(s) by way of a full
investigation. Instead Defendants wanted the Plaintiff to be happy for only getting 30 days on the bus stop under hot lights.
Defendants help facilitate the abuse and fraud, condone it, approved of it and or turned a blind eye which is grossly negligent
and deliberately violation of the Constitutional rights of the Plaintiff for due process.

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 21 of 51 PagelD #: 24

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

9.) DEFENDANT D. KELLEY, is Lieutenant at Alderson whom investigates incident reports, take statement and
recommend to enforce the report or not. The Defendant interviews the inmate and decide if the informal resolution was
accomplished or not. If not, the incident report is sent to the UDC committee for an initial hearing. October 2016, Plaintiff
Johnson was called to the Lieutenant's Office and was met by Defendant Kelley. Defendant Kelley ordered Plaintiff Johnson to
tell him about the hostage and assault and battery situation. Plaintiff proceeded to tell him about the 3 staff at Education held
her hostage behind a close blocked door and how she ran to Lt. Oaks office for protection and Lt. Oaks walked Plaintiff over to
the Psychologist office. Plaintiff could only assume the Psychologist or Lt. Oaks documented what happen and asked SIS to do
a report. As Plaintiff was explaining the abuse, fraud and hostage situation, Defendant Kelley stopped writing and put his pen
down. Plaintiff asked him why did he stop writing and he clearly stated "I thought it was inmates whom held you hostage”.
Plaintiff asked are you going to finish the investigation? But Defendant Kelley ordered Plaintiff back to the housing unit. On
January 18, 2017, Defendant Kelley called Plaintiff Johnson to Lieutenant's office. When Defendant arrived the Captain was
standing over Defendant Kelley's shoulders telling him what to write. Defendant Grimes(Captain) left the office, Defendant
stated you have been issued and incident report by Ms. Dickerson in Education for disobeying a direct order and not turning in
work assignments. Defendant asked Plaintiff what was her statement. Plaintiff reminded him of the fake test scores, no
evaluation, assault, battery and hostage situation October 2016 by 3 staff members and how this had to do with me filing a
2241 in West VA court on the Education Department for fraud. Plaintiff went on to explain Defendant Dickerson had Plaintiff
sitting at the Resource Center while Defendant prepared the exemption from the program, it was 4 months since the wait to be
removed. Defendant Kelley stopped Plaintiff and, stared at her and stated “I have to enforce this shot, You can try and appeal
it but it wont work". Plaintiff was ordered back to the housing unit. Defendant participated directly in the alleged constitutional
violations by Plaintiff informing Defendant, he failed to remedy the wrong. Defendant acted under unconstitutional due process
practices by knowing whom committed the wrong and knew about the conduct of Defendant(s) and helped facilitate it, approve
it, condone it or turn a blind eye which was grossly negligent and deliberate indifference.

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§ Part I - Incident Report

 

 

 

 

 

 

 

 

1, Institution: FPC Alderson ft AGYOIOR

2. Inmate’s Name 3. Register Number 4. Date of Incident 5. Time
Johnson, Carmen 56613-0037 01/18/2017 3:00 pm
6. Place of Incident 7. Assignment 8. Unit

Main Education/Resource Center Recreation 1 / HOUSE A/RANGE 01/BED 391U

9. Incident 10. Prohibited Act Code(s)

306 REFUSING TO PROGRAM/307 REFUSING TO OBEY AN ORDER 306 AND 307
11. Description Of Incident (Date: 01/18/2017 Time: 3:00 pm Staff became aware of incident)

On 1/18/2017 at 2:00 pm, I assigned work for Inmate Johnson, Carmen, Reg. # 56613-037 to complete

during her assigned class time. At 3:00 pm her work was turned incomplete with a message that she
was not willing to perform the task. Inmate Johnson has constantly refused work after being given
several opportunities to do so. She has stated that she in incapable of performing the tasks she

is given and refuses to try.

 

 

@& of Reporting Employee .| 13.Date And Time

  
 

12. Typed Name /Signa.

 

 

 

 

 

D. ‘Dickerson, SOE Di, 1/18/2017 3:10 pm
14. Incident Report Delivered to Above Inmate By 15. Date Incident | 16. Time Incident
eu alk oy / S. , Report Delivered , Report Delivered
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Bo, 1 t/a 17 (6:18pm
Part II - Committee Action

 

1?. ents of Inmate to “AL DP Regarding Above Incident

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Charge(s) to the DHO for further We
~~. Committed the Prohibited Act as charged. Hearing. on |

Did not Commit a Prohibited Act. , Cc. 1 The Committee advised the inmate oe 4
Committed Prohibited Act Code(s) p 7 its finding and of the right to file
an appeal within 20 calendar days. itild

 

 

 

 

Committee eT: Based on,Specif Evidence as Follows: : WW cover?
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20. Committee action and/or recommendation if referred to DHO (Contingent ce awonlbeecl!

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21. Date And Time Of Action aol lpm (thgB
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dirman’s signature certifies who
the MOC proceedings.)

 

Member (Typed Name)

 

INSTRUCTIONS: All items outside heavy rule ate for staff use only. Begin entries with the number | and work up. Entries not completed will be voided by staff.
DISTRIBUTE: ORIGINAL-Central File record: COPY-1- DHO; COPY-2- Inmate After UDC Action; COPY-3- Inmate within 24 hours of Vart I Preparation.

PDF . : Prescribed by P5270 Replaces BP-S288.052 Of MAY 94

P YS

 
Case. 1:18-cv-00416 Document 3 Filed 03/09/18 Page 23 of 51 PagelD #: 26
Lean cihint | 9 9

10. Defendant Dorian Dickerson is Supervisor of Education: Aided and Abetted with staff on concealment of facts. Conspiring
by understanding and covering up the violations with no consideration to human rights. Abuse of power. Violations of the US
Constitution and Administrative Remedies with unfair due process. Disability discrimination by concealing facts and not
reporting physical, mental and emotional abuse by staff. Defendant did not call and out side agency (OIA) to do a full
investigation on her staff. Defendant spoke to staff herself and made decision based under color of State and or Federal Law,
and violating Employee policy by Office of Government Ethics. Aiding and Abetting misappropriation of Government funds and
continued fraud in the Education Department. Knowingly and willingly continue to destroy Plaintiff's reputation with BOP file.
Defendant continue to force Plaintiff to conspire to commit fraud with US Government Funding in Defendant's Education
Department. Defendant continue to ignore the fact Plaintiff filed a case in West VA court on part of fraud, assault, mental health
abuse and discrimination in Defendant's department which has lead to cunning retaliation on Plaintiff. Defendant continue to put
Plaintiff in harms way by emotional; mental and physical abuse with intimidation, bully tactics and the twisting of BOP policy to

full Defendants own agenda and cover up.

11, Defendant Michael McCabe is a teacher in Education: Defendant used abuse of power by inflicting bully tactics with threats
which lead to physical, mental and emotional abuse. Disregard to mental disabilities and human and women rights. Abusive
behavior with loud tones and looks that provides silent tactics that warn continued physical, emotional and mental harm.
Covering up violations and aiding and abetting with concealment of facts. Violating the US Constitution by false imprisonment
and Assault. Continuing to commit fraud on the US Government by mis appropriation of US Government funds. Continued force
of Plaintiff to con8pirer with fraud with US Government Funding. Knowingly and willingly defendant destroyed Plaintiff's

 

reputation with BOP file. -

12. Defendant Heather Spadlin is a teacher in Education: Defendant used abuse of power by inflicting bully tactics with
intimidation and threats on Plaintiff with fraud, Assault, mental and emotional abuse. Defendant used the color of State and
Federal law to hold Plaintiff hostage by false imprisonment and assault which violates the US Constitution. Defendant has no
regards to Plaintiff's mental disabilities or human rights. Defendant took advantage of Plaintiff mental disabilities by stress,
duress and attempted cohesion to cover up Defendant's fraud on US Government Funding by trying to force Plaintiff to sign up
for a Special Ed class 1 day off suicide watch. Defendant even went as far as trying to convince Plaintiff to aid and abet the
fraud by telling Plaintiff, that Plaintiff, took a GED test and signed a contract before Plaintiff went in Suicide Watch. This malice
act openinly humiliated Plaintiff by placing Plaintiff in Special Education with no evaluation. Defendant continue to ignore the
fact Plaintiff filed a case in West VA court on part of fraud and mental health abuse and discrimination. Defendant has
continued to lie, cheat, mislead, conduct fraud and discriminate against Plaintiff's mental and emotional disabilities.

Pp. UG
I give my Statemens 96 TuttpuRgenOATS!, BOdanseAt.3 wHileal OBO IG Pagsiaeliof at RegelDeso2 By Ms.
Dickerson. | stated everything listed below with Lt. Kelley. Jan 20, 2017 | met with Ms. Harvey and Mr. Trainum of UDC. | asked
them to go slow because | just returned from HSU 10 minutes ago from fainting and | felt discombobulated. They proceeded
with the hearing. | gave the errors of the incident report. Ms. Harvey wanted to know why the things | was speaking of was not
in the statement I gave to Lt. Kelley(writer). | stated the same things | am telling you | told Lt. Kelley. Mr. Trainum stated they did
not see them in the statement by Lt. Kelley(writer). | stated the same reason Ms. Harvey is not writing what | stated, Lt. Kelley
(write) did not write what | stated. Ms. Harvey proceeded to write some bases of what | said at that point in the incident report.
Ms. Harvey stated based on the written statement by Lt. Kelley(writer) and evidence they was enforcing the incident report. |
asked what was the evidence? | stated Ms. Dickerson was conceaiing the full scope of the incident. | also stated this was
retaliation, abuse and unusual punishment. They suggested | filed and appeal.

DETAILS: 2nd week of Oct 2016 Ms. Spradling called me in her office at Education with Mr. McCabe and Ms. Bailey in
attendance. They held me hostage under stress, duress and attempted coercion. Mr. McCabe was threatening by blocking the
entry door as Ms. Spradling yelled at me about Special Education they enrolled me in. | explain to Ms. Spradling | have mental
nealth issues and need mental health treatment not Special Ed. | asked her to produce the fraud test and paperwork
establishing | need Special Ed. | stated we should not be speaking since we are in litigation. Ms. Spradling yelled she did not
care and | was going to take a test. | stated | could not aid and abet their fraud and would not submit to testing until | hear from
the "JUDGE". Mr. McCabe would not move from the blocked door. The way he was standing and looking | thought he was
going to hurt me. | was traumatized. | panicked and reached my arm between his arm and turned the door knob and | ran to Lt.
Oaks office. Ms. Spradiing was screaming I'm going to take your "good time". | told Lt. Oaks what happen and he called
Education. | was shaking, nervous and sweating. He walked me to Dr. Anthony's office and she stated no one was going to hurt
me but my options was Suicide watch or R&D. | told her | could not handle either because of the way | was treated on suicide
watch June 2016. | called my sister and stated | was afraid and was held hostage by 3 staff.(1 stil! feel traumatized when | see
them.) The next day, | introduced myself to Warden Smith and told her everything. Warden Smith was shocked about the fake
test scores and held hostage by Education Staff. Warden Smith walked me to Ms. Dickerson and Warden Smith ordered Ms.
Dickerson to handle this situation with an update. The next day, | met Ms. Dickerson at Education. Ms. Dickerson apologized for
her staff and stated she was removing me from the program. She stated she created a letter but had to locate it and to come
back the following Monday to sign. She stated after we signed the letter it would take 3 days for her to remove me from the
program and to watch the call-out. Around that same time frame | was called to Lt. Kelley's office. He stated he needed a
statement on the hostage situation. As | was telling him what happen he stopped writing. | asked him why did he stop writing?
Lt. Kelley stated | thought it was inmates who held you hostage. | met with Ms. Dickerson Nov 7, 2016. She stated she could
not remove me from the program until Nov 30, 2016. We went to the Resource Center and Ms. Dickerson asked an inmate
worker to create me a sign in/out sheet to use everyday until the end of Nov. 2016. Ms. Dickerson told me | could bring my own
book to read. First week of Dec. 2016 | saw Ms. Dickerson and Ms. Wheeler at the Gym. Ms. Dickerson ask "Are you still sitting
at the Resource Center?" Ms. Wheeler stated she see me there everyday. Ms. Dickerson asked me to come to her office the
middle of Dec 2016. When | arrived she stated | needed 240 hours to sign out the program and she needed test scores from
me. | asked her where is the test they say | took that established | need Special Ed? | reminded her she stated October 2016
she was signing me out the program because of the fraud, the hostage situation by her staff and the law suit | filed. | stated |
could not take a test because it is listed in a lawsuit for fraudulent test scores by her staff and | was waiting for the Judge's
ruling. | backed out her office and stated | was returning to the Resource Center. | left Ms. Dickerson's office discouraged. Jan
18, 2017 Ms. Dickerson came to the Resource Center for the first time since | was assigned there. She laid down a test with a
few answers already in faint pencil. She asked the inmate staff to bring her the test when | finished. | wrote in blue ink
something to the fact--"| reserve all rights and | do not know the full scope of the contract.” | spoke with Ms. Dickerson Jan 23,
2017 how she was suppose to sign me out this program and | was stressed and traumatized by this ordeal. | stated this is
retaliation, discrimination, falsifications, concealment of truth and abuse of power to an inmate with mental health issues. She
stated she remember but she follows policy. The unusual punishment have me on the bus stop under hot cancer causing lights
on 24 hours a day on the top bunk. Based on "POLICY 3420.11 Standards of Employee Conduct “issued by Office of
Government Ethics | know | have been exposed to the following violations:

page 23 item 9: threatening to inflict bodily harm injury to another.

page 23 item 10: Disrespectful conduct use of insulting abusive language to others.

page 25 item 15: Endangering the safety or causing injury to inmate thru carelessness

page 26 item 16: Giving inmate an order that is hazardous to health and safety.

page 28 item 25: Physical abuse of an inmate.

page 30 item 34: Falsification misstatement or concealment of facts connected with investigation or other proceeding.

page 37 item 56: Failure to report violation of standard of conduct, retaliation, discrimination against those who make the report.

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 25 of 51 PagelD #: 28

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FROM: 56613037

TO: Smith, Karen

SUBJECT: Page 5

DATE: 03/07/2018 12:50:22 PM

updated issues

Defendant Maria Arviza,
Defendant Dorian Dickerson
Defendant Heather Spradlin

February 24, 2017: Defendant Arviza signed off on Response to Administrative Remedy 891092-F2 stating there is an incident
report issued and Plaintiff was found guilty, Plaintiff had to do 240 instructional hours again, because the 240 hours already
accumulated was now reflecting GED SAT(unsatisfactory) because of the disciplinary action. The only way to be dropped from
the program the Plaintiff needed to accumulate again 240 hours. Plaintiff Johnson was not aware she was accumulating
instructional GED hours. Defendant Dickerson ordered Plaintiff Johnson to sit at the Resource Center while Defendant
prepared the exemption from the program. Defendant Dickerson had to cover up her lie and fraud on the Plaintiff in order to
attempt to get Plaintiff Johnson to do the 240 hours needed to clean Education's records. Also there was no mention of being
held hostage, fake test scores etc in the response by Defendant Arviza, or good time being taken. Most important the response
stated "YOU NEED TO BE SATISFACTORY IN ORDER TO BE REMOVED". April 4, 2017: Plaintiff Johnson was ordered to
Defendant Spradlin's office. Plaintiff took a witness inmate Pete because of the nature of the fraud, mental health and physical
abuse displayed by Defendant. Defendant Spradlin stated she is removing Plaintiff from the GED Program Defendant signed
Plaintiff up for. Attached you will find the statement which also reflects Defendant Spradlin wrote that Plaintiff Johnson had
accumulated the mandatory 240 instructional hours dated 4-4-2017. Defendant Spradlin's handwritten note don't say anything
about GED unsatisfactory. But Defendant Arviza states in the Response from BP-9 that you can not be removed if you have
GED unsatisfactory. However, Defendant Spradlin and Defendant Dickerson released Plaintiff from GED program without
accepting liability for lying and destroying Plaintiffs file and taken away 30 days of good time, GED unsatisfactory is still listed in
the BOP Sentry file for Defendant's Johnson. July 7, 2017: Plaintiff Johnson signed up for Blackstone's Career Institute
Paralegal Studies Certificate Program. November 7, 2017: Plaintiff Johnson graduated with "Distinction Honors" of a 97.25
grade average, giving Education a copy of the honors and Defendant Ray a copy for the BOP Sentry File. January 24, 2018:
Plaintiff Johnson went to a Unit Team Meeting with Defendant Ray. Plaintiff noticed the Blackstone Paralegal was not listed in
the programming. Plaintiff Johnson asked Defendant Ray about the error and he took the Plaintiff's team paperwork and
handwrote on the team paperwork the grade point average. Plaintiff asked Defendant “Are you going to add the grades to the
BOP system and he said | had to notify Education Department. Plaintiff sent a cop-out asking to add the graduated class to the
BOP system and to also let Defendant Dickerson know the Plaintiff had gone on to study advance paralegal Bankruptcy with
Blackstone. A week later Defendant Dickerson sent a response back stating "Inmate this is not acceptable in the BOP system
because you are listed as GED (unsatisfactory)". This paralegal class shows the Education Defendants lied and committed
fraud by placing Plaintiff Johnson in GED stating Plaintiff qualify for "Special Education" based on Plaintiff low scores even
though Plaintiff never took a test in the Education Department.

10.) DEFENDANT DORIAN DICKERSON,
11.) DEFENDANT M. McCABE
12.) DEFENDANT HEATHER SPRADLIN:

Defendant Dickerson was informed of the violations to Plaintiff Johnson and grossly negligent and showed deliberate
indifference to Plaintiff Johnson by creating a serious risk and failed to take reasonable action to correct it, by failing to act on
information indicated the unconstitutional acts occurred.There is a history of wide spread abuse and fraud in the Education
Department, Plaintiff Johnson put Defendant Dickerson on notice and Defendant Dickerson failed to correct the alleged
deprivation, which by not contacting outside investigation for fraud and abuse was deliberate indifference to Plaintiff Johnson
by Defendant Dickerson's staff, Defendant McCabe and Defendant Spradlin whom committed the wrong act. Facts support
Defendant Dickerson directed the other Defendant McCabe and Defendant Spradlin in Defendant Dickerson's department to
act unlawfully or Knew but would not stop them. This Deliberate indifference by the acts was maliciously and sadistically which
created cruel and usual punishment for Plaintiff Johnson. Defendant Spradlin set in motion a series of acts ordered at
Defendant Spradlin's command and Defendant Dickerson knowingly refused to terminate a series of acts by Defedant McCabe
and Defendant Spradlin, which Defendant Dickerson knew or reasonably should have know would cause an infliction of a
constitutional injury. Defendant Spradlin and Defendant McCabe have a pattern of mishandled government funds and abuse in
the Education Department with tacit approval of the deliberate indifference and failure to act by policy but by a custom of
inaction was the moving force or direct cause behind Plaintiff constitutional injury. This abuse of power and fraud demonstrated
a custom to show a widespread practice, is well settled of deep embedded traditional ways to carry out actions of deliberately
indifference and abuse.

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 27 of 51 PagelD #: 30
RESPONSE TO ADMINISTRATIVE REMEDY

#891092-F2

This is in response to your Request for Administrative Remedy,
receipted on February 9, 2017, in which you indicated that you
are requesting to be removed from the GED Program.

A review of your complaint reveals that you may not be eligible

to drop from the GED Program until you reach at least 240 hours,

per the PS5350.28, “Inmates must participate in the literacy

program for one mandatory period of at least 240 instructional

hours, or until they achieve a GED credential or high school
diploma...” After receiving an Incident Report, due to failing to
program or do the work that was provided to you, your status has

been changed to GED UNSAT (unsatisfactory) status. “Once found

guilty of a Prohibited Act that occurs in the literaéy program,
ne7she will have to complete another 240 instructional hours  <@———~-
“before he/she can have a GED SAT (satisfactory) Progress ns

Assignment” and be eligible for consideration of being dropped . 4. _

etme nsannnadanin,

Based on this information, your Request for Administrative
Remedy is denied. If you are dissatisfied with this response,
you may appeal to the Regional Director, Mid-Atlantic Regional
Office, 302 Sentinel Drive, Suite 200, Annapolis Junction, MD
20701. . You see ee) must be received in the Regional Office
within twenty calendar days from the date of this response.

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Maria Akviza, Acting ach

 

 

   

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 31 of 51 PagelD #: 34

BP-S148.055 INMATE REQUEST TO STAFF CDFRM

SEP 98
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

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~~" Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 32 of 51 PagelD #: 35
13. Defendant Christine Anthony is the Chief Psychologist at Alderson Federal Prison Camp. Defendant Anthony offers
psychological Services. Ethical Principals for Psychologists and code of conduct, as well as the APA, guidelines for professional
practice of psychology. Psychologist is responsible for the assessment and treatment of mental disorders in the inmate
population. Utilizing their clinical expertise, psychologist indentify of inmates in need of mental health care and determine the
type of services to be provided. Mental Health providers in Psychology Services make the final determination regarding who
will receive psychology care, and the nature of the care the inmate will receive. Reference: Mental Health Services available
BOP P5301.17. But was not provided to Plaintiff.
a) EXHIBIT TEN: Full statement submitted by Plaintiff under Oath October 18, 2016 in West Virginia Courts

seeking relief and protection. This Exhibit goes into full details to the best of Plaintiff's knowledge on what happen with her and
of what lead to suicide watch and what happen on suicide

Defendant Anthony. Requesting mental heath treatment and details

>

 

watch.

 

| eqal Claim :

13. Defendant Christine Anthony is Chief Psychologist: Conspired with Defendants by denying mental health treatment to
Plaintiff which ultimately landed the Plaintiff on suicide watch for 5 days. Defendant treated the Plaintiff abusively on suicide
watch by not letting plaintiff shower, abusive tones, reminding Plaintiff nothing was going to change for her, no consideration or
compassion for Plaintiff's mental and emotion state. Even when Plaintiff begged Defendant could she wash because she was
on her monthly cycle which was running down her legs. Defendant whom is female was not moved by Plaintiffs female time of
the month or her human rights. Plaintiff was constantly humiliated by Defendant because Plaintiff would not come out the
suicide room. Plaintiff begged Defendant for something to help Plaintiff sleep and was refused this as well. Plaintiff asked the
Defendant can Defendant call her family and was told no. Ultimately, Defendant damaged Plaintiff by. listing in Plaintiff BOP file
that Plaintiff suffer from Grandiose with Entitlement issues. At one point Plaintiff told the Defendant that she was very thirsty and
no one had given plaintiff water. One of the guards even went as far as spitting in open bottled water and giving Plaintiff a direct
order to drink it. But, Plaintiff refused. Plaintiff told Defendant what happen but Defendant stated to Plaintiff to leave the suicide
room if you are thirsty. Defendant stated "If you are thirsty drink it from the toilet over there." A Inmate suicide Companion heard
Defendant say this and told the other Doctor on compound. When Defendant left the Inmate Suicide Companion ran to find
Plaintiff water to drink and something to wash with. Defendant, violated Plaintiff's US Constructional rights by cruel and unusual
punishment. Defendant, demonstrated Discrimination of Plaintiffs Race and Mental Health Disabilities by not taking the time to
diagnose Plaintiff with mental health issues. Defendant denied Plaintiff mental health treatment and ignored all signs of mental
health concerns. Defendant was fully aware of the extreme difficulty Plaintiff experienced during her legal battles, 18 months of
therapy once a week in pretrial, 2 medical Jail facilities and solitaire confinement. Defendant understood Plaintiff was fighting for
her life through the appeals process. Defendant thought it was odd for Plaintiff to be traumatized by being called Nigger
constantly at work assignment and basically told Plaintiff to get over it. Defendant also noted in Plaintiffs BOP file that Plaintiff
had Grandiose with entitlement issues which made Plaintiff a target for racial and mental discrimination by other staff an
guards. October 2016 Plaintiff was taken to Defendant's office by and officer because of being falsely imprisoned and assaulted
by staff at Education Department. Defendant was aggravated because Plaintiff would not common down or consider
Defendant's auto suggestion of no one was really going to hurt Plaintiff. Defendant was aggressive with her approach of stating
this was not cognitive thinking. Plaintiff stated she did not trust Defendant. Plaintiff stated she could not forget when Defendant
told her to drink toilet water and there was a witness who heard her. Defendant went on to ask Plaintiff if she wanted R&D or
suicide watch and Plaintiff said no and ran out office to call family and clerk at West, VA court to tell them about the assault.

“Matter alleged on information stating, of another inmate whom is of European race, | believe to be true. An white inmate
whom has been on suicide watch several times before and after Plaintiff was able to shower and get clean water to drink.

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vanes KEE Case 1:18-cv-00446 Document 3 Filed 03/09/18 Page 33 of 51 PagelD #: 36

14. Defendant Rinick is the Director of HSU medical i
4. at Alderson Federal Prison Camp. Defendant i i
Sho fas oppolntments, call rHSU hee exams, chronic care and the daily running and administration of HU nee ea
{ a or 5 days 6-2016. Plaintiff fainted on 1-0-2017 at th i i |
to unit. Guards and nurses from HSU medical came. Plaintiff was dragged storied and Sled in face bys Co 28 called

But witnesses told Plaintiff what happen. Plaintiff has been requesting medical files since 8-2016 and h

tft wi 1. aS | ave not
a) EXHIBIT 44 * Statement under Oath dated 1-20-2017. Submitted to courts for retaliation in 2-6 2017. Subsitod

with BP-8, BP-9. BP-10 came back with a comment stating they need more time to respond.

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14. Defendant Rinick is the Director of HSU Medical: No regards to Human Rights. Mental Health Discrimination by denying
mental health treatment which ultimately landed the Plaintiff on HSU suicide watch for 5 days. Plaintiffs US. Constitution rights
was violated by non adequate medical care, cruel and unusual punishment and was subjected to more mental, emotional and
physical abuse on suicide watch. While on suicide watch a guard read Plaintiffs sensitive medical file out loud to other guards
which was not assigned to the suicide room or area. This violated Plaintiffs Medical Privacy. Plaintiffs information was used for
pure gossip and humiliation of Plaintiff by other staff and guards. Plaintiff was even given a bottled water where a guard spit in
the bottle and she was ordered to drink it. On 1-20-17 Plaintiff was dragged, pushed and grabbed in the collar by and unknown
nurse when plaintiff had fainted a few minutes earlier while other inmates was ordered back to cubes by guards. But some
inmates witnessed this disgraceful treatment on Plaintiff. Plaintiff was driven to HSU Medical and was told nothing was wrong
with her but was given and 1 day convalescences. The beginning intake process when Plaintiff first arrived to Anderson FPC
stated to intake nurse she was mentally unable to function or comprehend what was going on and needed help. Plaintiff was
unable to remember or retain information. Plaintiff went on to try and state she came from several medical jails but was told by
intake nurse they have no record of this. Plaintiff believes if this intake was completed properly a lot of subjection to mental,
physical and emotional abuse would not have happen. The catalyst started here by nurses with no regard to human rights with
mental disabilities hiding behind color of BOP medical policy has damaged Plaintiff tremendously. The continued denial of
mental or physical medical care has gone on with no attempt to change.

 

 

Jan 20, 2017: The majority of the compound was sick with an unusual! virus of some sort. For weeks | was sick with a strange
dry cough during night and a green/yellowish mucus cough during the day, fever, hot sweats, cold sweats, holding nothing on
my stomach, dehydration, dizzy spells, white spots in vision. | knew not to go to HSU/Medical to seek treatment because the

same story is always used which is buy what you need off commissary and the charge of $2.00 co-pay followed. For weeks |
was taking yellow allergy pills which are recommended by HSU/medical for "ALL" aliments you may have..| also was taking 8-
10 vitamin C pills with cough drops, tea, honey, lemon and chicken flavored water to help fight this strange string virus. finally,

the store had no more of these items because so many women was sick from this virus/cold. Finally, on Jan 20, 2017 early
morning | was in the bathroom so sick sitting on the toilet throwing up and dealing with the runs at the same time. | was very
sick and not realizing it was the 2:15am count. A guard knocked on the door and stated was anyone in this bathroom and |
stated yes. | knew | could get a incident report for messing up their count. | repeated to them | was very sorry but fam sick. |
left the bathroom with 2 guards watching me hold on to the wall with sweat running off me. | had to go back to the bathroom
several more times that night with the same symptoms. | finally went to sleep after 5:00am(?). | woke up 9:00am to a guard
stating for me to get up and make the bed | sleep in. | stated | was sorry. | stated | was off work and | did not feel good. He
stated with a debauchery tone to get up and make the bed. | acknowledged the order and got dress and went to counselor to
request sick call through him. The counselors stated why did you not get up at 6:45am to go to sick call? | explained the
medical situation he then called over to HSU/Medical and begged them to do him a favor by letting me to sick call. As | walked
over to sick call | was dizzy, sweating and still shaking. | went in and the nurse stated why did you not come to sick cail at
6:45am? As | started to speak the nurse stated she would not see me and to go back to my assigned housing unit. | went back
to the housing united and fainted coming in door. | don't know how long | was out but | can say when | came into focus | did not
know where | was. Inmates stated | was screaming where am |? where am |? | remember about 10-12 guagds around me. |
crawled to the wall screaming get away from me, who are you? | thought | was home being raided again by the "FEDs". But,
when | looked over | saw the Captain's assistant whom use to be my boss.. | stared at her as another female/guard/nurse(?)
was yelling and pulling on me telling me to get up and open my eyes------- inmates stated to me they was ordered to their beds.
This female/guard/nurse whom was yelling in my face to get up, was pulling me, grabbing me by my collar and pushing me over
as | sat on the floor with my back on the wall, trying to focus on where | was and what was going on as (ALL) the other guards
watched as they had me circled in an attack mode. | was terrified. They finally dragged me from the floor and drove me over to
HSU/Medical. | went in and was seen by a nurse whom told me there was nothing wrong with me and all my test came back
normal. | insisted on telling her my symptoms again. She told me to buy what | needed from commissary. | tried to explain to the
nurse the store was out of everything ! had been taking. She stated again to buy what is on commissary an she went on to say
commissary has not called her to tell her they are out of stock. She gave me an 1 day condolences and yelied next inmate. |
walked back to the united and when | was coming through the door the red phone was for me. | went to the red phone and was
‘old to come to the counselors office. When | came in that is when | met with Ms. Harvey and-Mr. Trainum about the incident
‘eport (listed at the top of this staternent under oath.) This is the day | was put on the "Bus Stop” by and obscured incident

‘eport.

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 34 of 51 PagelD #: 37

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

FROM: 56613037

TO: Smith, Karen

SUBJECT: Page 6

DATE: 03/06/2018 07:38:12 PM

13.) DEFENDANT CHRISTINE ANTHONY
14.) DEFENDANT Dane Reatek.

July 2017: Fighting to get into R-DAP drug treatment which was denied. Plaintiff's family researched affects of Klonopin. Plaintiff
had a court appointed therapist for 18 months on pre-trail once a week. The therapist had Plaintiff on Klonopin all that time.
Plaintiff was also given Trizidone 375mg for 7 months in DC Jail. Plaintiff was taken off these drugs abruptly with severe
withdrawal symptoms. Plaintiff experienced side affects of withdrawals with no medical help, even though the Plaintiff begged
for help from the time frame of in-take of medical August 2015 through December 2016. Initially Plaintiff Johnson could have
died by withdrawals or suicide, which was the thinking process of the Plaintiff in that time period. This went with out concern
from HSU Medical and Psychology, even when Plaintiff Johnson continued to beg for medical and mental help. Defendant
Anthony and Defendant Rinick showed excessive delay on providing mental and medical health care which was a deliberate
indifference when she knew but failed to respond to Plaintiff request for help. Defendants participated directly in the alleged
constitutional violates and failed to remedy the wrong. Defendants is operating under custom or policy that is unconstitutional
practice. Plaintiff advised Defendant Anthony of the traditional widespread ways, long standing, deeply embedded delay of
providing mental and medical health care to Plaintiff and other inmates at Alderson. This is a clear and persistent pattern of
mishandled medical and mental health emergencies for Plaintiff and other inmates. Defendants showed deliberate indifferent to
have actual knowledge of a serious risk and failed to take reasonable action or request an investigation. Defendants knew or
conduct helped facilitate abuse, approve it, condone it, or turn a blind eye. Defendants showed grossly negligent and deliberate
indifference which inflicted cruel and unusual punished me to Plaintiff. Plaintiff suffered intentional extreme infliction of mental
and emotional distress while on suicide watch June 2016 with outrage of conduct which was inflicted by Defendants and
unknown guards on suicide duty. This reckless, malice, highly charged racists with no duty of care affected Plaintiff with severe
emotional distress. Defendants was negligent and did not use care any other medical care provider would use under similar
circumstances to the point "Dr. Moore" in R-Dap opened up and emergency investigation because the inmate suicide buddy
program reported the disgraceful treatment of Plaintiff. Defendants inflicted mental suffering by conduct of malicious flagrant
nature which was atrocious and utterly intolerable in a civilized community. Plaintiff deserved care not abuse.

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 35 of 51 PagelD #: 38

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

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FROM: 56613037

TO: Smith, Karen

SUBJECT: page 11

DATE: 03/06/2018 06:41:04 PM

15.) DEFENDANT BAILEY (first name and intial unknown) Defendant Bailey was a Lieutenant and then teacher in
Education Department at Alderson Federal Prison Camp. Around the third week of June 2016 Defendant Grimes (captain)
ordered Plaintiff Johnson to his office to asked what happen on Suicide watch. Defendant Grimes stated that a staff wrote a
report on the treatment on suicide watch. Plaintiff told the Defendant everything. A few days later Defendant Bailey asked
Plaintiff to come to SIS. Defendant Bailey stated for Plaintiff to write a statement on what happen on Suicide Watch and left.
Defendant called Plaintiff to SIS again, and asked Plaintiff to write statement again because Captain was using the report for
training. Plaintiff stated "you told me yesterday this report is for how | was treated on Suicide watch?" Defendant Bailey stated,
"The Captain wants you to write about how the guards did." Plaintiff wrote the statement and then the Defendant asked the
Plaintiff to start a new sheet and don't write this, or write that, but add this. Defendant was dictating how the statement should
read. Plaintiff asked why and Defendant stated this is how the Captain wants it. Plaintiff could not understand what was going
on. October 2016, Defendant Bailey was now working in Education Department. Plaintiff was ordered to Defendant Spradlins
back office with Defendant McCabe and Defendant Bailey also there. Plaintiff Spradlin stood up and stated you are going to
sign these papers and Defendant McCabe walked in front of the door and blocked it. Defendant Bailey looked shocked. Plaintiff
was terrified and asked what is going on? Defendant Spradlin stated you are going to sign these papers and sit in Education in
a chair with a heart beat. Plaintiff stated about court papers filed for Fraud in Education and was waiting for the Judge to decide.
Defendant Spradlin started yelling, she did not care about court papers, you gonna sign these papers now. Plaintiff looked over
at Defendant Bailey and saw the shock on Defendant face and turn to Defendant McCabe with his hands on his waist, Plaintiff
reached her hand pass Defendant's arm and pushed door opened, Defendant McCabe jumped out the way, Plaintiff started
running fast with Defendant Spradlin yelling "You are going to sign these papers, | am going to take your good time." Plaintiff
ran all the wall to the lieutenant's office non-stop, where Lt. Oaks was. Plaintiff was sweating, crying, shaking and breathing
fast, Lt. Oaks asked Plaintiff what happen and Plaintiff told Lt. Oaks Defendant McCabe, Defendant Bailey and Defendant
Spradlin blocked door, held me hostage trying to get me to sign papers of a class and test | never took. Lt. Oaks called
education and asked what happen? Lt. Oaks walked Plaintiff over to Defendant Anthony's office. Defendant Bailey understood
the Plaintiff was in a zone of danger when Defendant McCabe blocked the door and Defendant Spradling started yelling as they
all held plaintiff hostage in Defendant's Spradlin's back office. This was an infliction of physical, emotional and mental abuse
while under stress, duress and coercion while being forced to sign papers. Defendant Bailey did not stop the assault and
battery. Plaintiff Johnson was owed a duty of care to be protected. Defendant Bailey participated directly in constitutional
violations on the Plaintiff. Defendant Bailey did not request and investigation or inform anyone of violations she saw, nor did
Defendant stop the abuse. Defendant ordered Plaintiff to change her statement on the Suicide watch at least 3 times, and
watched Plaintiff being blocked at door and Defendant did nothing accept, help facilitate the abuse, hide abuse, approved of it,
condoned it and or turned a blind eye. Defendant's grossly negligent act caused violation of cruel and unusual punishment and
abuse to a person with mental concerns.
Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 36 of 51 PagelD #: 39

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

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FROM: 56613037

TO: Smith, Karen

SUBJECT: page 7

DATE: 03/06/2018 06:29:08 PM

16.) DEFENDANT JERROD GRIMES, Captain of Alderson Federal Prison. Supposed to secure the safety of inmates as
well as Guards with integrity and ethical practices. Defendant Grimes is also the close family member(brother) of Defendant
Dickerson. Defendant aided and abetted, covered up and protected his close family member Defendant Dickerson to the point
of assisting with the disciplinary action by construction of fraud with Defendant Dickerson and Defendant Kelley. January 18,
2017 Plaintiff Johnson was ordered to Defendant Kelley's office and Defendant Grimes was advising Defendant Kelley what to
add to the incident report. Plaintiff Johnson heard Defendant Grimes say to Defendant Kelley "this will make it stick." After the
incident report was served, UDC hearing and sanction was executed Defendant Grimes would walk around the range at night
with a ski-mask on, when Defendant would get to the cube Plaintiff was in, Defendant would walk really slow looking up at
Plaintiff Johnson in the top bunk bed. This happen quite a few times between 2am and 4am of morning. Plaintiff would be up
because of her lack of sleep habits, meditation or reading and Defendant Grimes knew this. Every time Defendant Grimes
would see Plaintiff on the compound he would stare at her until she was out of sight. Plaintiff Johnson believes this drastic
action was an intimidation factor by Defendant Grimes to Plaintiff Johnson. Plaintiff Johnson was certainly afraid of more
retaliation, assault and incident reports by the creepy and scary actions of the Defendant. Plaintiff told other inmates but the
inmates thought it was funny, But Plaintiff knew this was not a joke. Plaintiff was afraid for her life with this infliction of mental
suffering by Defendants conduct, flagrant character and intentional infliction of emotional distress by the Defendant and the
other Defendants whom worked under Defendant Grimes by his command to protect Defendant's sister Defendant Dickerson.
This conduct was atrocious and utterly intolerable in a civilized community. The Defendant participated directly in the alleged
constitutional violations on Plaintiff, even after being informed of the violations filed to remedy the wrong by his Defendant sister
and other Defendants. Defendant knew of the conduct and helped facilitate it, approved it, condone it and turn a blind eye.
Defendant grossly negligent with supervisory of his subordinates for the abuse, fraud and wrong acts on Plaintiff Johnson was
deliberate indifference, with maliciously and sadistically cruel and unusual punishment. This set the stage for a motion of a
series of acts by other Defendants, or knowingly refused to terminate a series of acts by others which defendant knew but
continued to inflict constitutional violations and injury to Plaintiff. Plaintiff suffered an infliction of physical, emotional and mental
impacted by a zone of danger when 8-10 unknown guards circled plaintiff while unknown nurse/staff pushed, dragged, choked
and pulled Plaintiff when Plaintiff fainted, which the abuse was later verified by inmate witnesses, with no guards intervening on
January 18, 2017. Defendants owed the same duty of care to a free world patient and person as to the Plaintiff.

Day
Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 37 of 51 PagelD #: 40

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

FROM: 56613037

TO: Smith, Karen

SUBJECT: page 10

DATE: 03/07/2018 01:23:06 PM

17.) DEFENDANT UNITED STATES, The United States knew of the widespread abuse and fraud at Alderson Federal
Prison Camp, by way of Congress, Senate inquiries and unknown number of lawsuits for lack of Medical and Mental Health
care and extreme abuse on thousands of women of Alderson, but Federal Authority continue to send women to Alderson only
to be subjected to abuse. The custom is so well settled, the officials and United States had constructive knowledge of the
embedded tradition, wide spread abuse, retaliation, Misappropriation of Government Funds, no mental health and lack of
medical care. Yet, no one from the United States did anything to end the practice. Plaintiff hold the United State liable for
abuse, discrimination of gender, race, religion, no mental health care, lack of Medical Health care, retaliation, pain and suffering
with cruel and unusual punishments. A clear and persistent pattern of abuse on women inmates, tacit approval deliberate
indifference and failure to act amounting to official policy of custom of inaction, was the moving force or direct cause of Plaintiff's
continua! injuries which is deliberately intentional, chosen from various alternatives. Plaintiff showed no delay in reporting abuse
of no mental health care, fraud, abuse, retaliation by submitted evidence of informal and formal Administrative Grievance
Remedy but this practice was/is so deeply embedded, well settled and long standing, makes it hard for inmates to get help.
These acts are maliciously and sadistically cruel and unusual punishment. Defendant(s) set in motion a series of acts by other
Defendants, knowingly refused to terminate the series of acts, which inflicted constitutional violations, color of state and federal
law and policy, abuse, religious practices denied, with refusal to control Defendants. This conduct shows reckless, callus,
indifference to the rights of others. Defendant and Supervisory officials personally participated in the deprivation, or was aware
of the grossly negligent and deliberate indifference to Plaintiff's constitutional rights, failed to take action to prevent further
misconduct. Plaintiff tried to report all the issues repeatedly and was retaliated and abused. This history of widespread abuse
put Defendant(s) on notice of the need to correct deprivations, and failed to do so. This resulted in violations of deliberate
indifference to the constitutional rights of Plaintiff Johnson. Facts supported that Supervisory Defendants directed subordinates
to act unlawful or knew the defendants would act unlawful and failed to stop them. Defendant knew about the conduct and
helped facilitate it, approved it, condoned it, or turned a blind eye, which affected Plaintiff to the fullest. Plaintiff Johnson and
hundreds of other inmates depend, rely on and use the Administrative Grievance Process to appeal incident reports or other
issues seeking Justice, and to now understand the process, is human controlled by a corrupt system, excepted and approved
by the Defendant, United States. Axiomatically, very few inmates, like Plaintiff Johnson, receive no remedy for abuse and or
fraud in the BOP system, this practice of abuse is malicious and sadistically. Plaintiff holds the Defendant, United States and all
other Defendants responsible for violations of Plaintiff Johnson's constitutional rights, with cruel and unusual punishment. This
abuse was atrocious and utterly intolerable in a civilized community.

18.) DEFENDANT EVAN JENKINS was notified by Congressman Cummings to open an inquiry on behalf of Plaintiff
Johnson's family because Plaintiff is in Defendant's district. The inquiry was for, retaliation, abuse, fraud, lack of mental and
medical care at Alderson Federal Prison Camp. Defendant refused, the emergency inquiry was opened by Congressman
Hoyer's office documented by Congressman Cummings and Congressman Conyers's office. Defendant Jenkins whom assist
with delegated policy making, authority in the area and in congress, was informed and had knowledge of the extent of the wide
spread established practices and existence. Defendant, responsible policy maker failed to open and inquiry of abuse received
by Plaintiff's family, even after another municipal personal requested the documented breakdown of abuse to be looked into,
Defendant still refused, this only showed acquiescence in the established long standing hidden practices at Alderson Federal
Prison. Failure to act amounted to Deliberate Indifference to Plaintiff and policy violation, prohibiting misconduct by not
enforcing policy. Plaintiff suffered a deprivation violations of US Constitution, by failure to remedy the unsafe conditions,
inadequate mental and medical health care, Government Funding Fraud, retaliation by assault and battery, in order to prevent
more predictable constitutional violations. Defendant Jenkins denied other request for help by hundreds of concern families of
the same nature. This shows a history or custom that exist of abuse in which encouraged and allowed all Defendants to display
malicious and sadistically abuse was grossly negligent, which created cruel and unusual punishment to the Plaintiff, with no
concern of all the other Defendants for punishment. By Defendant Jenkins refusal to terminate a series of acts by other
Defendants Jenkins knowingly inflicted more constitutional injuries of Plaintiff Johnson. This showed a reckless or callus
indifference to the rights of the Plaintiff and the Defendant knew about the conduct and or help facilitate it, approved of it,
condoned it, or turned a blind eye to it. This conduct was atrocious and utterly intolerable in a civilized community.

19.) DEFENDANT J.F. CARAWAY, is Regional Director of the Atlantic Region Appeals in the Administrative Remedy
Grievance. Defendant signed off on denial of the BP-10 submitted by Plaintiff Johnson for UDC hearing, abuse, Fraud in
Education Department, Government funds, GED fraud and assault and battery. Defendant denied the BP-10s and failed to
address the issues of fraud but directed the appeal denial to the framed GED class. The Defendant participated directly in the
constitutional violations by being informed of the abuse filed by Plaintiff Johnson to remedy the wrong. Plaintiff Johnson's
requested an outside agency to come in to inspect and interview Plaintiff Johnson. Defendant's grossly negligence, monitoring

PO.
ase 1:18-cv-00416 Document 3 Filed 03/09/18 Page 38 of 51 PagelD #: 41

ELIVAH E. CUMMINGS : ["] 2230 RAYBURN HOUSE OFFICE BUILDING
TH DISTRICT, MARYLAND WASHINGTON, DC 20515~2007
: (202) 225-4741
RANKING MEMBER, COMMITTEE ON FAX: (202) 225-3178

 

RANKING MEMBER,
1010 PARK AVENUE

| RSIGHT AND GOVERNMENT REFORM Congress of the Anited States nistoT OFFS
SELECT COMMITTEE ON BENGHAZ! House of Representatives x SUITE 105

BALTIMORE, MD 21201-5037

COMMITTEE ON
TRANSPORTATION AND INFRASTRUCTURE , (410) 685-9199
SuscommitTee ON Coast Washington, BEC 20515 FAX: (410) 685-9399
GUARD AND MARITIME TRANSPORTATION CJ 754 FREDERICK ROAD
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RAILROADS, PIPELINES, AND HAZARDOUS CATONSVILLE, MD 21228-4504
MATERIALS racine fae
+ (410) 455-0110
C 8267 MAIN STREET
ROOM 102

ELLICOTT CITY, MD 21043-9903
(410) 465-8259
FAX; (410) 465-8740

March 3 0, 2017 www.cummings.house.gov

| Vv
Ms. Carmen Johnson
Reg. No. 56613-037
Inmate Mail
FPC Alderson
Glen Ray, Road, Box A
Alderson, WV 24910

Re: Legal
Dear Ms. Johnson:

am in receipt of your recent letter to my office regarding your court case number 1:16-CV-
06206 with the Alderson Federal Prison Camp.

Please know there is a long-standing policy in Congress that each Representative is given the
opportunity to serve his or her own constituents. In keeping with that policy, I have referred your
correspondence to your Representative in Congress, The Honorable Evan Jenkins. Congressman
Jenkin’s District Office address is 601 Federal St., Suite 1003, Elizabeth Kee Federal Building,
Bluefield, WV 24701 and the telephone number is 301-325- 6800. I am ‘sure that Congressman

Jenkins will do what he can to assist you.

  

Sincerely, |

 

Membér of Congress

EEC/ge

cc: Congressman Evan Jenkins

extheet
~Jenians

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 39 of 51 PagelD #: 42

STENY H. HOYER
Democratic Wuip

57H District, MARYLAND

 

Congress of the Wnited States
House of Representatives

Washington, BE 20515-6502
April 7, 2017

Dr. Carmen Johnson (56613-037)
Alderson Federal Prison Camp for Women

1 Glen Ray Road
Alderson, WA 24910

Dear Dr. Johnson (56613-037):

Thank you for writing to me regarding your medical and mental health treatments at the
Alderson Federal Prison Camp for Women. I am sorry to learn of your difficulties and will do

my best to assist.

The appropriate officials at Federal Bureau of Prisons have been contacted. I have
requested that they review this matter and as soon as I receive a response, I will be back in touch
with you. As there are often numerous steps to the review and determination process and each
situation varies, we will do our best to help you find answers but can make no guarantee to the
outcome or the timeframe under which this matter may be resolved.

In the meantime, if there is anything that you need, please contact Mr. Terrance Taylor,
of my staff. She may be contacted at U.S. District Court House, 6500 Cherrywood Lane, Suite
310, Greenbelt, MD 20770. The telephone number is 301-474-0119; the fax number is 301-474-

4697,

Thanking you again and with kindest regards, I am

SHH:TT

Democratic Wuip OFrice:
H-148, THe Capirou
Wasuinaton, DC 20515
(202) 225-3130
(202) 226-0663 (Fax)
http://democraticwhip. house.gov

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Sincerely yours,

 

WasninaTon, DC Orrice: GreENBELT District OFFICE:

1705 LonawortH House OFFice BultDING U.S. District Court House
Wasninaton, DC 20515 6500 Creraywoop Lane, Suite 310
(202) 225-4131 Greensett, MD 20770
(202) 225-4300 (Fax) (801) 474-0119
htip:/Awww. hoyer.house.gov (301) 474-4697 (Fax)

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EXWOi1
Jena ¢

Wa.porr District OFFice:
401 Post Orrice Roan, #202
Wavpvorr, MD 20602
(301) 843-1577
(301) 843-1331 (Fax)
| Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 40 of 51 PagelD #: 43

"FRULyci6613037 - JOHNSON, CARMEN - Unit: ALD-A-A

ro wi Seren
SUB)E Request for Administration Remedy BP-10
DA FE. 13/2017 07:20:04 PM

8923-F1 BP-9 was denied and no remedy or relief was given or granted as of 3-3-2017.
Regpcting on the BP-9 written response as follow:

1, Warden wrote refusal to program 306 and refusing to obey and order 307.
| was ordered by Ms. Dickerson to sit at the Resource Center (NOT) in a class for over 4 months. She was working on a letter

to remove me from this program because her staff entered me into a program with fake test scores and no evaluation. Ms.
Dickerson stated for me to watch the call out. Everyday | went to Resource Center with my own reading book. The only time |
was asked to do and assignment was on 1-18-2017 almost 4 months later waiting and watching the call out to be removed. Ms.
Dickerson brought in a test with answers already listed on the test. | wrote on the test "! repudiate this offer because | do not
know the full terms of this contract." | also stated on the test that | was waiting for the Judge to rule on the fact because we were
in litigation because of Fraud in the Education Department. | followed the direct order which was sit in the resource center until

Ms. Dickerson do the letter to remove me.

2. The title (WRITER) of the incident report is Lieutenant Kelley.

Lt. Kelley called me to the office and told me and incident report was being given by Ms. Dickerson. Lt. Kelley stated he had to
enforce this incident report and do | want to give a statement. | stated that | was waiting for Ms. Dickerson to remove me from
this program because of Fraud and being held hostage by her staff. | had been sitting at the resource center for over 4 months
waiting and watching the call out to Say removed. | stated that this was all entered in the West Virginia court house and | was
waiting for the Judge to rule because of the FRAUD. | never stated to Lt. Kelley(writer) that | was incapable of performing the
task and I refuse to try. This is a lie and that comment don't make sense. | asked Lt. Kelley to read me what he wrote on my
statement and he refused and now | understand why. Lt. Kelley did state i could appeal this but the appeal wont work.

3. I did in fact state in the UDC meeting that we are in fact in litigation because the fraud in the Education Department for fake
test scores and no evaluation for Special Education. | stated to UDC that | could not aid and abet fraud and | was waiting for
the Judge to rule. | tried to pull out the court documents that reflects this but was stopped by Mr. Trainum. They stated why did
you not tell the writer(Lt. Kelley) this and | said | did but the same reason why you are not writing what | am saying the writer(Lt.
Kelley) did the same thing. | also asked them to read me what the writer(Lt. Kelley) as my statement and they only stated 'You
said you are incapable of performing the tasks and I refuse to try". | stated to Ms. Harvey this is a lie | did not state this to him
on 1-18-2017. | stated this is the writer(Lt. Kelley) statement not mine.

Last comments: The response by the Warden breaks my heart because he writes "It is the goal of the Inmate Discipline
Program to prevent or deter inmates from violating the Bureau of Prisons prohibited acts. He go on to state there is no
indication the incident report heard by UDC was improperly administered but my due process was in fact violated.

a) The violations, fraud and lies was implemented and concealed by the Warden's staff under Office of Government Ethics, US
Constitution and human rights. My due process was denied. | am asking for you to please look at the full scope of this incident
and please remove this incident report from my BOF file.

Carmen Johnson 56613-037

EXHigit
~ Cara Way
PS
Case 1:18-cv-00416 Document 3, Filed 03/09/18 Page 41 of 51 PagelD #: 44

REGIONAL ADMINISTRATIVE REMEDY APPEAL | 4
PART B - Response

Date Filed: March 15, 2017 Remedy ID No.: 891092-R1

This is in response to your Regional Administrative Remedy
Appeal, in which you request to drop out of the GED program.

We have reviewed documentation relevant to your appeal. The
Supervisor of Education was contacted and it was determined you
have accumulated the 240 instructional hours required by Program
Statement 5350.28, Literacy Program (GED Standard).. The
Supervisor of Education further indicated your Inmate Request to
Staff Member, in which you request to drop from the GED program
was pending signatures from your Unit Team. Once your Inmate
Request to Staff Member is returned to Education with the Unit
Team signatures, then you can be processed from the GED program.

This is for information purposes only. If you are dissatisfied
with this response, you may appeal to the General Counsel,
Federal Bureau of Prisons, 320 First Street, NW, Washington, DC
20534. Your appeal must be received in the General Counsel’s
Office within 30 days from the date of this response.

    

 

JUN 2 0 2017 Dy
_— KS
Date J. ¥. caraway
. (Y Regional Director

Mid-Atlantic Region

Veto

 
Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 42 of 51 PagelD #: 45

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

the Administrative Remedy process on the Regional Level, Defendant had authority to stop the Defendants but instead
Defendant Caraway supported, help facilitate, condoned, approve, or turned a blind eye of the abuse and fraud on the Plaintiff
and Government, by denying Plaintiffs BP-10. These facts show Defendant Caraway knew the Defendants was acting unlawful
but Defendant failed to stop them which created deliberate indifference which affected the rights of the Plaintiff's due process
and continued fraud on the government. The US Constitution states, the Plaintiff had a right to report the Fraud to a
Government agency and have a chance to a honest due process, but the Defendant has proven this process normally don't
work for the inmates. The Defendant failed to act on the Grievance Process for the appeal and report within the prison system
information to alert the appropriate people of the abuse by Plaintiff whom was requesting help. When the Defendant learned of
the abuse, Defendant should have exercised his authority and reported the conditions. Plaintiff can only suggest by Defendant
Caraway denying the request for appeal and investigation, this displayed a custom or usage that is persistent and widespread,
long standing and deeply embedded by the Defendant. This informal custom can be proven by the large denials of BP-10's on
the Regional level for inmates verses approvals of the appeals in which reflects evidence of a routine practice. This lead to
intentional infliction of mental and emotional distress of suffering by the Plaintiff because of the conduct of flagrant character of
the Defendant. This conduct on Plaintiff Johnson, by Defendant Caraway was atrocious and utterly intolerable in a civilized
community.

20.) DEFENDANT IAN CONNORS, is Administrator of the National Inmate Appeals in Washington DC. Defendant was
informed of all the violations through a BP-11, filed by Plaintiff Johnson for UDC denial of due process, mental health abuse,
fraud in Education on government funds, GED fraud, assault and battery. Defendant Connors did acknowledge numerous
issues, but Defendant stated "the issues listed did not pertain to the disciplinary process." However, the issues did all tie in
together and can not be separated. The Defendant exhibited deliberate indifference to Plaintiff, by failing to report the sufficient
information of abuse in the prison system indicating unconstitutional acts are occurring against women at Alderson Federal
Prison Camp. This was intentional infliction of emotional distress for Plaintiff with deliberate indifference when Plaintiff Johnson
requested and outside agency to come in and do a full investigations but Defendant Connors turned a blind eye to the
emergency request. Defendant should have investigated and rectify the deliberate indifference, but Defendant participated by
maliciously helping to facilitate it, hide it, approved of it, and condoned it. Defendant acted grossly negligent by having the
actual knowledge of the serious nature and risk, failed to act reasonable to avert the abuse and save Plaintiff from additional
harm, but instead, let the abuse and fraud continue on Plaintiff Johnson. This practice and informal custom of process of BP-
11's, we can only assume this practice may constitute a usage of persistent and wide spread, long standing, deeply embedded
in the system of constitutional violations in the BOP and Defendant Connors. This conduct was atrocious and utterly intolerable
in a civilized community.

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 43 of 51 PagelD #: 46

Administrative Remedy No. 892326-A2 J
Part B - Response

You appeal the January 20, 2017, decision of the Unit Discipline
Committee (UDC) regarding incident report #2940902, in which you

were found to have committed the prohibited acts of Code 306,

Refusing to Accept a Program Assignment, and Code 307, Refusing

to Obey an Order of a Staff Member. You disagree with the

decisions of the Warden and Regional Director, and you claim you

did not commit the prohibited acts. Specifically, you recite -*-----~
numerous issues that do not pertain to the disciplinary process... --
For relief, you request the incident report be expunged. fe

Our review of your disciplinary proceedings indicates compliance
with Program Statement 5270.09, Inmate Discipline Program. The

UDC considered all evidence presented at the hearing and a
documented the specific evidence relied upon to support their
decision in Section 19 of the incident report. We find the
determination of the UDC is reasonable and fully supported by
the evidence. As indicated in the lower level responses to this
appeal, the issues and claims you provided are not sufficient to
expunge the incident report. You have not provided any
evidence, nor did we find any to indicate that you did not
commit the prohibited acts. The sanctions imposed were
commensurate to the severity level of the prohibited act
committed and in compliance with policy.

 

Accordingly, your appeal is denied.

 

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Date Tan-corlors, Administrator

National Inmate Appeals ed

      
   

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 44 of 51 PagelD #: 47

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

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FROM: 56613037 mV ae
TO: Smith, Karen TeX SUT
SUBJECT: BP-11 Carmen Johnson appealing Incident Report ms Conners

DATE: 06/12/2017 12:07:29 PM

Remedy ID No.: 892326-R1

My Statement of Truth:
My response is based on the return response of Regional Director Caraway w/Mid-Atlantic Region dated May 19,2017.

Please read his paragraph singularly from 1-7 and then match my statement by my paragraph responding singularly 1-6.

lam appealing the decision for Unit Discipline Committee (UDC) on Jan. 20, 2017. | am appealing refusing to accept a program
assignment (code 306) and refusing to obey an order of a staff member (307). The request still stands the incident report be
effaced and expunged with any other negative remarks pertaining to this incident be removed from my BOP file

“PARAGRAPH 1: The claim still stands being placed in Special ED program 1 day off suicide watch. No
accompanying evaluation was given to determine Special Education was needed. The claim still stands that fraudulent behavior
by unethical staff in the Education Department. The claim still stands | was subjected to retaliation for filing a court motion in
West VA because of Fraud in the Education Department and my need for Mental Health Treatment July 2016. The claim still
stand | was held hostage with attempt of assault, stress, duress, threat and coercion to sign documents for Special Education
program Oct. 2016. Ultimately, lead to a deep apology by the Education Supervisor who gave her word as a ethical employee
she was removing me from the program Oct. 2016. | was given a direct order by the Education Supervisor Oct. 2016 to sit at
the Resource Center located in another building for my safety with my understanding of being removed from the program. | was
asked to bring a personal book to read. | was unethically and deliberately lied to by the Education Supervisor continuously
Stating she was removing me from this program in Oct. 2016 then Nov. 2016 then Dec. 2016 and Jan. 2017.

“PARAGRAPH 2: Program Statement 5270.09, Inmate Discipline Program, states the UDC staff shall consider all
evidence presented at the hearing. The decision of the UDC staff shall be based on at least some facts, and if there is
conflicting evidence, it must be based on the greater weight of the evidence. The following was not considered or refusal of
acknowledgement as follow:

a) not given the opportunity to submit evidence.

b) not given time to prepare for UDC hearing or granted a reschedule request. | just came from HSU 5 mins before UDC
hearing for fainting. | was given a convalescence by HSU for rest that day. | felt discombobulated. -

Cc) not given the opportunity to bring witnesses.

d) statements | did in fact make at the hearing is not present.

€) some statements | was making | was ordered to stop speaking of them

f) Conflict evidence is greater than the incident report was not considered.

g) no outside agency or SIS investigation was requested because of the nature or sever conflict of the incident(s).

lt was appropriate and conscientious to question the direct order and to ask the scope of the contract. The direct order was
inscrutable and did not make sense. | was ordered by the Education Supervisor Oct. 2016, Nov. 2016, Dec. 2016, Jan.2017 to
sit at the resource center because she was removing me from the program. It was not the fact denying an assignment or a
direct order, it was the fact of questioning the ONE given assignment/test out the blue after 4 months of sitting at the resource
center. Also trying to differentiate why answers was already listed in faint pencil on this one time presumptuous elementary
school test. Any person of ethics would question what was going on opposed to relying on pragmatic perceptions. | am now left
to ask another question---"Why is a person punished for asking an ethical question of concern at Alderson Federal Prison Camp
for Women?" "Will | always be punished for asking questions at Alderson Federal Prison Camp for Women?"

“PARAGRAPH 3: | disagree with being appropriately charged. | understand per policy programming may not be
optional or and elective. However, on page 53 of The Anderson Federal Hand Book clearly states a program is voluntary. Page
7 of the Alderson Hand Book states the unit team will work with you, psychology, health service and education dept on
classification and programming review. Page 7 also states in handbook the Educational staff will plan WITH YOU, coordinate
and evaluate your academic and vocational needs and establish educational goals. This never happened and | was taken
advantage of by my obvious mental health comprehensible difficulties with discriminatory aliments at the time. Aug. 2015 my
attorney faxed to Case Manager a letter referencing my mental health comprehensible difficulties and his concern for me to not
sign anything because of my mental state at that time. My attorney called for 3 weeks and his letter and calls went with out
consideration or acknowledgement. May 2016 with the submission of my affidavit of truth explained my mental health difficulties
at the time and this went without consideration by unit team. Instead | was diagnosed with grandiose with entitlement issues.
This lead to free game of being called "House Nigger" on the Job at CDR. May 2016 | did receive a response back from
Education Staff stating they placed me on the 4 month waiting list to handle affairs with locating the GED. 11 days later in June

2016 | was ultimately placed on Suicide Watch.
“PARAGRAPH 4: The "14 Principals of Ethical Conduct for Federal Employees" states an Federal Employee must

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"18-cv- i 45 of 51 PagelD #: 48
Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page P| Beg

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A Coanes v

endeavor to avoid any actions creating the appearance that they was violating the law or the ethical standards set forth in the
Standards of Ethical Conduct. It also states Employees shall adhere to all laws and regulations that provide equal opportunity
for all Americans regardless of race, color, religion, sex, national origin, age and handicap. | do believe Education Staff and
UDC Staff failed based on the above statement written from Department of Justice Files "Ethics". | still claim the Education and
UDC Staff did violate me by using color of policy and law. May 2016, Education Staff did responded to my affidavit by placing
me on a waiting list to handle my affairs. Oct. 2016 Education staff did in fact infringe on my free will. | am a 50 year old
American woman. This infringement lead to assault by holding me hostage when they understood my mental distress state. The
fatalistic of disregard to their written response physically and mentally affected me. The Alderson Hand Book states Unit Team,
Psychology and Education Staff will work with the inmate (TOGETHER) with achieving programming goals. My intelligence was
under estimated and discriminated against by placing me in Special Education one day off suicide watch. No consideration of
my mental state, no evaluation or testing was given. This aversion of complexities they created with deliberate abuse of power
has traumatized me incomprehensibly. Theoretically, it was fraud and unethical to offer me a test with faint answers wrote in
pencil on the test. It was assault and unethical to hold me hostage in a room with the door blocked by a huge white man
attempting to force me to sign documents under stress, duress threat and coercion. Emphatically, it is incongruous, unethical
and abuse of power to write me up under these proliferated circumstance without a proper ethical analysis.

“PARAGRAPH 5: The credible evidence is the fact I did file a 2241 motion July 2016 in West VA court. The Alderson
Federal Prison attorney asked the courts to dismiss the motion because it had no merit and no remedies attempted in the
Sentry BOP system. Consequently, the courts wanted to hear my compelling complaint. Oct. 2016 | submitted a 68 page
motion with exhibits. The middle of Oct. 2016 | filed another 9 page motion asking for protection because of retaliation and
being held hostage by Education staff. Oct. 2016 my sister called the clerk of court to let them know | was held hostage by the
Staff in Education at Alderson Prison for Women. | stand by my claim this incident report was strategically planned, prepared
and then executed under abuse of power and color of policy and law.

“PARAGRAPH 6: Regional Office denied my appeal. Based on the complexity of the situation there is no way |
received a fair UDC hearing or Appeal. | disagree with the substantial procedures was followed with Education Staff and UDC
Staff hearing. Subjectively, | was signed out the Special Education/GED program May 2017 with unsatisfactory listed on my
BOP file. Consequently, | am asking for the incident report and any negative marks pertaining to this incident to be removed
from the BOP file. .

In the 14 Principles of Ethical Conduct for Federal Employees it states in paragraph 14 the follow: Whether particular
circumstances create an appearance that the law or these standards have been violated shall be determined from the
perspective of a reasonable person with knowledge of the relevant facts. "In order to provide Justice ethically you must ask
yourself the following questions about this incident."
1. Where is the evaluation and test that justified C. Johnson to be entered in Special Education and or GED?
2. Why was C. Johnson ordered by the Education Supervisor to sit at the Resource Center in another building 4 months?
3. Why was C. Johnson not sitting in Education Department at Annex where the GED and Special Ed class is held.
4. Why was CG. Johnson not given assignments from June 2016 - Jan. 2017?
5. Why did UDC staff not grant a continuation because the nature of the complicated incident?
6. Are there any other behavior issues with C. Johnson in the past at Alderson Federal Prison or in BOP file?
7. Why did the UDC staff disregard the details stated by C. Johnson above?
Exhibits attached:
1. Jan. 2017 Incident Report
2. Regional Director Denial letter for BP 10
3. Alderson Federal Hand Book Page 7, page 53 and page 55
4. 14 Principles of Ethical Conduct for Federal Employees
5. Employee Conduct Policy Statement 3420.11 pages 30 and 31
6. May 2016 Affidavit from Carmen Johnson requesting help for mental health issues.
7. May 2016 Cop Out from Education Staff McCabe place Carmen Johnson on waiting list to locate GED.
8. BOP suicide prevention letter from Director
9. Jan 20, 2017 confined to living quarters by HSU minutes before the UDC hearing.

thank you for your professional time in this incident. | am requesting the incident report be removed and any negative notes
attached to the BOP file dealing with this situation removed as well.

Carmen Johnson 56613-037

oc: Congressman Hoyer to add to inquiry opened 4-2017 at Alderson Federal Prison Camp for Women.
cc: West VA court to add to case Carmen Johnson vs. Alderson Federal Prison Camp for Women

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 46 of 51 PagelD #: 49

I. Articles of the Constitutional :
Amendment |: The right of the people peaceably to assemble, and petition the Gbvernment for redress of grievance.

Amendment V: Nor shall any person be subject for the same offence to be twice put in jeopardy of life, limb; nor shall be
compelled in any criminal case to be a witness against himself, nor be deprived of life, liberty or property, with out due process

of law.
Amendment VI: To be confronted with the witness against him; to have compulsory process for obtaining witnesses in his favor

and have assistance of counsel for his defense.
Amendment VIII: nor cruel and unusual punishment inflicted.

2. The Standards of Employee Conduct Policy 3420.11 issued by Office of Government Ethics, the following policy has been

ignored by staff.
Page 8: Staff may not use physical violence, threats, intimidation toward inmates or use force. No abusive language or
demeaning a inmate.

Page 23 item 9: threatening to inflict bodily harm or injury to another.

Page 23 item 10: Disrespect conduct use of insulting abusive language to others.

Page 25 item 15: Endangering the safety or causing injury to inmate thru carelessness.

Page 28 item 25: Physical abuse of inmate.

Page 30 item 33: Failure to report to management violation of contact with inmate.

Page 30 item 34: Falsification misstatement or concealment of facts connected w/investigation or proceeding.

Page 31 item 35: Refusal to cooperate w.US Gov. inquiry or investigation, attempting to influence others invelved.

Page 32 item 37: Dishonest and disgraceful conduct
Page 37 item 56: Failure to report violation of standard of conduct, retaliation, discrimination against person making report.

3. ADA Amendments Act 2008 PL.110-325(S3406)
An Act to restore the intent and protection of Americans with Disabilities Act 1990. To carry out the ADA's objectives of

providing a clear and comprehensive national mandate for the elimination of discrimination and clear, strong, consistent,
enforceable standards. ADA is intended to ensure equal protection of rights of all persons with dis ibilities, including prisoners

with disabilities have the means with which to protect their rights.

Disability means: —— _ a
a) A Physical or mental impairment that substantially limits one or more major life activities or such individual;

b) a record of such an impairment; or
c) being regarded as having such an impairment

4. The Americans with Disability Act and Prisoners
(a) section 504 of rehabilitation Act, 29 U.S.C. 794.
(b) 28CFR15.152(a)

(c) 42 USC 12132 — OC
Article 13 of the convention says that state parties shall ensure effective access to justice for persons with disabilities on an

equal basis with others, including through the provision of procedural accommodations, in order, to facilitate their effective role
as direct and direct participants, including witnesses, in all legal proceedings including at investigative and other preliminary

stage.
a) Article 14: No State can deny to any person within its jurisdiction the equal protection of the laws.

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" Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 47 of 51 PagelD #: 50

V. Relief

State briefly and exactly what you want the Court to do for you. Make no legal arguments.
Cite no cases or statutes.

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Signed this 3 day of adh » 20 | g

 

 

Signature of Plaintiff ow

I declare under penalty of perjury that the foregoing is true and correct.

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(Date)
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Signature of Plainti

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 48 of 51 PagelD #: 51

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

FROM: 56613037

TO: Smith, Karen

SUBJECT: page 8

DATE: 03/06/2018 06:34:17 PM

Prayer for Relief:
Wherefore, Plaintiff Johnson, respectfully prays that this court enter Judgment granting Plaintiff Johnson:

I. A Declaration that the acts and omissions described herein violated plaintiff's US Constitution Rights, (ADA)
American's and Prisoner's with Disability Act, Office of Government Ethics, Universal Declarations of Human and Women
Rights, International Laws, The American Declaration on the Rights and Duties of Men and laws in the United States. Plaintiff
Johnson is seeking damages under Section 1983, Bivens 403 US 388(1971), Federal Tort Claims Act and any other relief the
courts see fit.

Il. Plaintiff has no plan, adequate or completed remedy at law to redress the wrong described herein above and below.
Plaintiff has been in constant fear and under emotional and mental distress. Plaintiff is afraid of more retaliation and
discrimination of her disabilities. Plaintiff's feel this misconduct will continue under of color of State and or Federal Law and BOP |
Policy. Plaintiff feels she will continue to be irreparably harmed and injured by conduct of the Defendants unless this court
grants relief the Plaintiff seeks:

a) Requesting an appointed attorney

b) Jury Trial on all complaints triable by Jury

c) Plaintiff's cost in this suit paid by Defendants

d) All legal fees paid by Defendants

e) Plaintiff seeks,compensatory,punitive damages,and anything additional relief court deem just, proper and equitable.

f) Retaliation stopped

g) Physiological and mental Abuse stopped

h) Discrimination of mental health, ethnic and racial abuse stopped

i) removal of incident report, damages, false, slander, malice and negative items to BOP Filed reversed

j) negligence of medical care stopped

k) stress, duress and coercion stopped

1) no more cruel and unusual punishment for falsified incident reports stopped

m) interference with practicing Buddhist Religious, prayer and meditation stopped

n) Intentional infliction of emotional pain stopped

0) good time given back to Plaintiff which was taken through fraud

p) accept the Blackstone Paralegal Course with 97.25 honors added to the BOP Sentry System

q) no transfer to the county jail or other jails for falsified incident reports to inflict abuse and retaliation

r) removal of GED UNSATISFACTORY from BOP Sentry file

s) Report showing all FRP payment have gone to the appropriate court for payment

t) lower of FRP payment from $181.00 to lower amount

u) earlier release under Second Chance Act mandated by Congress for non medical and mental health offered at Alderson,
Home Confinement November 2018 and Good time date is May 2019.

v) changes in policy to ensure other inmates with mental and health issues will not go through the pain and suffering Plaintiff
went through at Alderson Federal Prison CAMP (FPC)

w) Give Government Funds back to Government that was used for Special Ed and GED under Plaintiff Johnson's name.

fll.) Plaintiff is asking courts to grant Damages from each Defendant in their Official and individual Capacity.

1. Warden: David Wilson Official Capacity $300,000.00 and Individual Capacity $300,000.00

2. Old Warden: Barbara Rickard Official Capacity $50,000.00 and individual Capacity $50,000.00

3. Assistant Warden: Maria Arviza Official Capacity $100,000.00 and individual Capacity $100,000.00

4. Sect. of Warden & Admins.Remedy Coordinator: Wickline Official Capacity $200,000.00 individual Capacity $200,000.00
5. Case Manager: Walter Ray Official Capacity $500,000.00 and Individual Capacity $500,000.00

6. Guard/Counselor: C. Ambler Official Capacity $100,000.00 and individual Capacity $100,000.00

7. Unit Manager/Chairwoman UDC: R. Harvey Official Capacity $200,000.00 and Individual Capacity $200,000.00
8. Case Manager/UDC: S. Trainum Official Capacity $200,000.00 and Individual Capacity $200,000.00

9. Officer Lieutenant: D. Kelley Official Capacity $200,000.00 and Individual Capacity $200,000.00

10. Supervisor Education: Dorian Dickerson Official Capacity $500,000.00 and Individual Capacity $500,000.00
11. Education Teacher: Heather Spradlin Official Capacity $400,000.00 and Individual Capacity $400,000.00

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Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 49 of 51 PagelD #: 52

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

12. Education Teacher: M. McCabe Official Capacity $250,000.00 and Individual Capacity $250,000.00

13. Chief Psychologist: Christine Anthony Official Capacity $1,000,000.00 and Individual Capacity $1,000,000.00
14. Director HSU Mecbane. henek.:k Official Capacity $250,000.00 and Individual Capacity $250,000.00

15. Education Teac Kimberly Bai ley Official Capacity $200,000.00 and Individual Capacity $200,000.00

16. Captain: Jerrod Grimes Official Capacity $350,000.00 and Individual $350,000.00
17. Congressman: — Evan Jenkins Official Capacity $250,000.00 and Individual $250,000.00
18. Regional Director: J.F. Caraway Official Capacity $250,000.00 and Individual $250,000.00
49. National Inmate Appeal: lan Connors Official Capacity $300,000.00 and Individual $300,000.00

20. United States: United States $10,000,000.00

Plaintiff is also asking the court to grant Punitive Damages of 1,000,000.00 from each Defendant and $1,000,000.00 Pain and
Suffering from each Defendant(s) and any other additional relief this court deems just, proper and equitable.
Case 1:18-cv-00416 Document 3 Filed 03/09/18 Page 50 of 51 PagelD #: 53

TRULINCS 56613037 - JOHNSON, CARMEN - Unit: ALD-A-A

FROM: 56613037

TO: Smith, Karen

SUBJECT:

DATE: 03/07/2018 05:06:24 PM

Carmen Johnson

Reg. No 56613-037
Inmate mail

FPC Alderson

1 Glen Ray Road Box A
Alderson, WV 24910

CERTIFICATE OF SERVICE
| hereby certify on March #] 2018, |, Carmen Johnson emailed and mailed a copy of this Bivens to Karen Smith for safe
keeping and proof of delivery.
| hereby certify on March 4, 2018, |, Carmen Johnson delivered by US mail postal box at Alderson Federal Prison Camp.

Clerk of Clerk

United States District Court
Elizabeth Kee Federal Building
601 Federal Street room 2303
Bluefield, WV 24701

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